Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 1 of 71

24-644

IN THE

United States Court of Appeals

FOR THE SECOND CIRCUIT

E. JEAN CARROLL,

Plaintiff-Counter-Defendant-Appellee,

—against—

DONALD J. TRUMP, in his personal capacity,

Defendant-Counter-Claimant-Appellant.

ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

BRIEF FOR PLAINTIFF-COUNTER-DEFENDANT-APPELLEE

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Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 2 of 71

TABLE OF CONTENTS

TABLE OF AUTHORITIES ........ccccccccccccccccccceeesceteeesecnsecseeseesenseesseeeetsenieeniess Iv
PRELIMINARY STATEMENT u0.....cccccccccccccccccesecesecesecssesseeseessecsseeseesenseessesseenseeas 1
STATEMENT OF THE ISSUES ...0...0cccccccceccccccceceesceeseeneeeseesesseetseeseesseseenseeteeniees 4
STATEMENT OF THE CASE..00...ccccccccccccceesceseeseeceeseeeenseessecseensensessieesetseeieeniees 5
SUMMARY OF THE ARGUMENT ........ccccccccccccccceecetseesecseesseeseesesseesesseeseeas 10
ARGUMENT. 0... ccccecceccccccceeceececseecseeeeaeeeseesseeeeseecseecseeeseecseessaeenseeeeeeteeetseenseeeseess 12
I. DONALD TRUMP IS NOT ENTITLED TO PRESIDENTIAL
IMMUNITY FOR THE STATEMENTS AT ISSUE HERE.............. 12
A. Presidential immunity is waivable. ......0....0000 ccc ceeeeeeees 12
1. The Supreme Court’s decision in 7rump v.
United States did not change the relevant law. .............. 13
2. Contrary to Trump’s suggestion, presidential
immunity is not a jurisdictional question. ................00.. 15
3, The conclusion that presidential immunity from

damages lawsuits is waivable is reinforced by the
fact that every other form of federal immunity can
De Wal ved. ooo... cece cccccececcseceneceseceseeeeeeeeseeeseesseenseeneeenes 18

B. | Trump waived whatever presidential immunity he might
Nave had. oo... cece ccceceneceneceneceeseenseesseecseeeseeesaeenaeesseeeseey 20

1.

The Supreme Court’s decision in Trump v. United
States did not change the relevant law with respect to
WAIVED. occ eecceeccececcesceeneeesceesseeeseceseeeseeeeeeeeseeeseeeseenseenseenes 20

This Court’s decision in Carroll 3 held that Trump
Walved IMMUNITY. 0.0.0... ccc cccc cece ccceeseeeecsseeeeetsaeeeeas 21

The district court correctly found that Trump waived
TMIMUMALY. 0c cece cccccececeeeeeeeeesessaeeeessesenseaeeeesaees 21
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 3 of 71

C. Trump is not entitled to presidential immunity with respect
to the claim at issue in this Case... cece ccceceseceeseeesseeeses 23

Il. THE DISTRICT COURT DID NOT ERR IN GRANTING
PARTIAL SUMMARY JUDGMENT TO CARROLL.............. 29

A. — The District Court properly held that Trump’s statements
Were false. oo... ccc ccccccccccccseceesseessececsseessseecsseeseseseseeessseensseeests 29

B. — The District Court properly held that Trump’s statements
were made with actual malice... ccc ccc ccceeeeeeeeees 32

I. THE DISTRICT COURT CORRECTLY EXCLUDED TRUMP’S

IRRELEVANT AND PREJUDICIAL TESTIMONY .............00000 36
A. — Trump waived these argument. .0.......000.cccceccccccceceeeeeeeeeees 36
B. | Trump’s arguments are meritless in any event. ................000 39

IV. THE DISTRICT COURT PROPERLY DENIED TRUMP’S
MOTION FOR A REMITTUR AS TO THE $7.3 MILLION

COMPENSATORY DAMAGES AWARD ........0ccccccccccccctceeseeeeees 40

A. — The $7.3 million award reflects all compensatory damages
other than the reputation repair program. ..........00.....ccceceeeeee 40

B. — The $7.3 million award was reasonable.............00..c0ccccecceeeee 42

V. THE DISTRICT COURT CORRECTLY INSTRUCTED THE
JURY ON COMMON-LAW MALICE 0.0. cececeeteeeteetteenteenes 44

VI. THE JURY INSTRUCTIONS CORRECTLY STATED THE
BURDEN OF PROOF FOR AWARDING PUNITIVE

VII. THE DISTRICT COURT PROPERLY DENIED TRUMP’S MOTION
FOR A REMITTITUR AS TO THE $65 MILLION PUNITIVE
DAMAGES AWARD 0. iicececceeeceeteceteeeteeeeseeeseeeteeneeeteeeneeenieenes 51

CONCLUSION 0. iccccecceccceneceneeeneeenseeeeeeeseeseecneeeeeenaseneestsesneesereeetesneeeneenieenes 56

i
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 4 of 71

TABLE OF AUTHORITIES
CASES
Anderson v. Osborne,
2020 WL 6151249 (S.D.N.Y. Oct. 20, 2020) oo. ccc ccctseceteeeesseentseeensees 54

Barkley v. United Homes, LLC,
2012 WL 2357295 (E.D.N.Y. June 20, 2012) oo. ccccecceceeec eee eeseeeseenseeneeenes 50

Barrett v. Harrington,
130 F.3d 246 (6th Cir. 1997) ooo. cece cececseeceseceeeeseeeeseenseeeseeeseeseenseeseeenes 27

Belmac Hygiene, Inc. v. Belmac Corp.,
121 F.3d 835 (2d Cir, 1997)..0o coc cece cececseceeceeeeeeeeseeeseeeseesseeeeeenseenseenes 46

Browning vy. Clinton,
No. 98-1992 (D.C. Cir. Jan. 25, 2002)... cece cece cece ceeceneeeseetseeeseeteeeseens 17

B-Steel of Kansas, Inc. v. Texas Indus., Inc.,
A439 F.3d 653 (10th Cir. 2006) oo... ccccccrcccnececsseeesseeeesseceseesieentsesensees 34

Buckley v. Fitzsimmons,
509 U.S. 259 (1993) ooo cece ceseceseceseceeseceseeeeeeeseeeseeeseeeseeesseceeenseeneeeeeesees 27

Buechel v. Bain,
97 N.Y.2d 295 (2001) occ ccc cece cccecccssecesseecseseeseeessessssesesseeseseseseeseseeenieeens 33

Bundy v. Navarro,
No. 16 Civ. 1047 (D. Nev. July 15, 2016)... ccc ccccccseeeeseeetsseentseeenes 17

Cantu vy. Flanigan,
705 F. Supp. 2d 220 (E.D.N.Y 2010) ooo. cecc cece ceeecneceeecssesnaeenaeeeeeenees 44

Carroll vy. Trump,
AO F Ath 759 (2d Cir. 2022) oo.cceccccccccccceccecececeneceneeeteceeseeeseeeseecsseeseesaeeseeeeeesees

Carroll vy. Trump,
66 F Ath 91 (2d Cir. 2023) oo. eccceccccccecccecceeceescecseeeseeeseecseecsseesseeeseeetseetseeseeeeens

ill
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 5 of 71

Carroll v. Trump,
88 F.4th 418 (2d Cir. 2023) ooo ccccccsccccseceessessseeessseeesseseseesesesensees passim

Carroll v. Trump,
124 F 4th 140 (2d Cir. 2024) occ cecc cece ceteceneeeneeenseetseetseensees 5,7, 29, 30

Carroll v. Trump,
683 F. Supp. 3d 302 (S.D.N.Y. 2023) ooocceccccccccecccececeeeeeneeeneeesseeeseenseensees 30, 31

Celle v. Filipino Rep. Enters., Inc.,
209 F.3d 163 (2d Cir. 2000)... cece cece cececeeecenecenseenseetseenseensees 34, 35, 41, 49

Cheney v. U.S. Dist. Court,
542 U.S. 367 (2004) once ccc cccccneenecneeceseceeeeeceeseeeseeeseeeseeessecseetseeneeeeeesees 13

Chisom v. Roemer,
501 U.S. 380 (1991) ooo cece cece cctececsseeesseeesseeeessecseeeesseessseseseeseaeeneeens 17

Cleghorn v. N.Y. Central & Hudson River Railroad Co.,
S56 N.Y. 44 (1874) oo coccccccccccccecc ccc ce cee eeescecsecnaeeeseeeeeeeseeeseesseesseeenseeneenieens 49, 50

Clinton v. Jones,
520 U.S. 681 (1997) ooo. cccccccccccsecesscecsseeeeseeesseeeesseessseesseeseaeenses 17, 23, 26

Cohen y. Trump,
No. 23-25 (2d Cir. July 24, 2023) o.oo cccccecceeeseeneceeseeeesseetseeeseetseeetens 16

Corrigan v. Bobbs-Merrill Co.,
228 N.Y. 58 (1920) ooo cceccccccccccecesceeeceeeceeseeessecseeeseecsecsseeseeseeeseeenes 3, 48, 49, 50

Council on American-Islamic Relations v. Ballenger,
AAA F.3d 659 (D.C. Cir. 2006) oo. cece cececeneceeceneeenscesseenseessseeseeseenseenas 28

D.C. v. Trump,
No. 18-2488 (4th Cir. Feb. 21, 2019) ooo. ccce cece cee ceteeeteeeeseeteetteeeeens 16

DiBella v. Hopkins,
AQ3 F.3d 102 (2d Cir. 2005)... ceceesceceeecneceeceeeenseetseenseesseeeseesseeneeenas 45

1V
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 6 of 71

DiSorbo v. Hoy,
343 F.3d 172 (2d Cir. 2003)... cccceccceseceeeceesceeseeeseeesseesseeseeenseenseeneeeteeesees 29

Emanian v. Rockefeller Univ.,
971 F.3d 380 (2d Cir. 2020)... ccceccecccetecetsceesceeseeeeeeesseesseesseeseenseeeaeeneeesees 30

Engel v. CBS, Inc.,
182 F.3d 124 (2d Cir. 1999) o.oo cece cee cee ceseceseeesseenseeeseesseeseenseenseenas 46

Freeman v. Guiliani,
No. 21 Civ. 3354 (D.D.C. Dec. 15, 2023) ooo. cccc cece cetseeeteeeeeeens 44,55

Freytag v. Comm ’r of Internal Revenue,
S01 U.S. 868 (1991) cece cece cncecnseceseceseeeeeeeseeeseesseeeseeessecneeetseeseeeeeesees 18

Gravel v. United States,
AO8 U.S. 606 (1972) ooo cccccccc cect ceesecesececsseeeseecseessseecsseesesseseeeessieeessesensees 15

Greenaway v. Cnty. of Nassau,
327 F. Supp. 3d 552 (E.D.N.Y. 2018) ooo cecceccecccs ees ceseeeecsecnseeneeeeeesees 55

Greenbaum v. Svenska Handelsbank,
979 F. Supp. 973 (S.D.N.Y. 1997) ooociccccccccccccecscccseceesecesseeeseeseseseseesereeeneeens 49

Gross v. Rell,
585 F.3d 72 (2d Cir. 2009)... icc ceccccssececeeeseesessecsseeessseessseeeseeseeeenseeens 32

Herbert v. Lando,
781 F.2d 298 (2d Cir. 1986)... cece ccccceerseceseeecsecesseecsseessseseseeseteeeneeens 35

Herlihy v. Metro. Museum of Art,
214 A.D.2d 250 (st Dep't 1995) ooo cece ceeecetecetscetseenseenseeesseenseenseenas A7

Hutchinson v. Proxmire,
AA3 U.S. L11 (1979) ooo cece cecsecntececeeeesseecsseesssescsseeesssesseeessieesssasesees 28

Imbrogno v. Chamberlin,
89 F.3d 87 (2d Cir. 1996)... cccccenecenecesecenseeeseeeseeesseesseeeeenseeneeeeeesees 51
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 7 of 71

Jennings v. Yurkiw,

18 F.4th 383 (2d Cir. 2021) ooo cccccccsecesececssecesseecsseeesseseseessesenses 52,53
Jones v. Clinton,

No. 94 Civ. 290 (E.D. Ark. July 3, 1997) ooo cccccccccccccsteeceseenteeensseensseeenes 17
K&D, LLC v. Trump Old Post Off, LLC,

2018 WL 6173449 (D.D.C. Nov. 26, 2018) oo... cece cece ccereceteeesseeeeseeensees 16
Kline v. Sec. Guards, Inc.,

159 F. Supp. 2d 848 (E.D. Pa. 2001) oo... ccc cecseeccteteesecesseeeseeeeseeensees 50
Keyter v. Bush,

No. 03 Civ. 02496 (D.D.C. Feb. 2, 2004)... ccccccccccscccsseeeeseesteeessseeeseeeenes 17
Lafferty v. Jones,

2022 WL 18110184 (Conn. Super. Ct. Nov. 10, 2022)... cece erees 56
Lee v. Edwards,

101 F.3d 805 (2d Cir. 1996)... cic ccccccccccecessceeseeeeseecssesessseeesssecsseessesensees 54
Liberman v. Gelstein,

80 N.Y .2d 429 (1992) ooo ccc cere cenececsseeeeseseseesessecsseeessseessseseseeseeeenteeens 47
Lynch y. N.Y. Times Co.,

171 A.D. 399 (1st Dep't 1916) o.oo cccc cere eeeseeceeeesseessseeesieeeteeensees 44
Mendez v. Starwood Hotels & Resorts Worldwide, Inc.,

746 F. Supp. 2d 575 (S.D.N.Y. 2010) ooo cccccertecesseeeneereeeeneesetseenteeens 43
Mirlis v. Greer,

952 F.3d 36 (2d Cir. 2020)... ccc cece csseceeeeceseeeessecesseecsseessseseseeseteeeneeens 51
Morsette v. “The Final Call,”

309 A.D.2d 249 (1st Dept 2003) ooo. ccccccccctecenscceseeesseeeseesesseenses 45,47, 48
Nevada v. Hicks,

553 U.S. 353 (2001) ooo cccccccccceceeeceeecseeceetecsseessseeesseeseseseseeessieeneeey 15, 16

v1
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 8 of 71

New Hampshire v. Maine,
532 U.S. 742 (QOO1) cece cccccccccececscecsseceeceseeeseeeeseeeseeeseeeseeesseceeeneeseeneeesees 35

Nixon y. Fitzgerald,
A57 US. 731 (1982) ooo eccccccccceccenccenceeneeesecsseeeseeetecenseesseeeseestseeneeneeens 13, 14, 23

Palin v. New York Times Co.,
113 F.4th 245 (2d Cir. 2024) ooo cccccccccccceececsceeneeeeseeessesesssecssseeesseeesesensees 12

Parklane Hosiery Co. v. Shore,
A389 US. 322 (1979) .oooecceccccccceccceceesceeseeeseecseeeseecsaecsseceseeeseetseeeseeeseeeseesseenieesas 32

Patrolmen’s Benevolent Ass'n of N.Y.C. v. City of New York,
310 F.3d 45 (2d Cir. 2002)... cece eccceccesecesscensceeseeesseeseeeseeeeeenseenaeenseeeeeesees 44

Patterson v. Balsamico,
A440 F.3d 104 (2d Cir. 2006)... ccc cccccccsececscecnseeeeseecseeeessesesseessseessseeensees 42

Payne v. Jones,
T11 F.3d 85 (2d Cir. 2013)... ccc ecceccesecetsceesceeseeeseeesseesseeseenseenseeneeeeeesees 54

People v. Trump,
2024 WL 5295022 (N.Y. Sup. Ct., N.Y. Cnty. Dec. 16, 2024)... 26

Pignons S.A. de Mecanique v. Polaroid Corp.,
701 F.2d 1 (1st Cir. 1983) oo... eccccceseceesceeseeeseeeseeesseesseeeeenseeneeseeeeeesees 33

Prozeralik v. Cap. Cities Comm ’cns,
222 A.D.2d 1020 (4th Dep’t 1995) ooo eeee ete eeteeteeteeneens 43,45, 46

Prozeralk v. Capital Cities Communications, Inc.,
82 N.Y .2d 466 (1993) ooo eeccceccnecsecseeceseeeeeeecesseeeseesseesseeetseeneenieens 45,47

Purgess v. Sharrock,
33 F.3d 134 (2d Cir. 1994)... ccc ceccesecenscetsceeseesseeesseesseeseeeseenseeeteeeeeesees 43

Rall v. Hellman,
770 N.Y.S.2d 860 (1st Dep’t 2004) ooo... ccc ccccccstecesseeeneeeeseeeseeseteeeneeens 48

Vil
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 9 of 71

Romano v. Tine,
62 F. App’x 26 (2d Cir. 2003) oo... ccccccccccccccccccesecetececssesessescsseessseseseesesseeneeens 32

Rubin y. Sterling Enterprises, Inc.,
164 Vt. 582 (1996) ooo. cece cecccecc ccc cesceeseeceecsaeceseeeseeeseeeseeeseeeseesseeeseenseenseenes 50

Santos v. Chrysler Corp.,
1996 WL 1186818 (Mass. Super. Ct. Sept. 18, 1996)... ccc eceeenees 50

Saunders v. Bush,
No. 92-1962 (Sth Cir. Dec. 21, 1992) onic cccccccceccesseccsseeeeseessetessseentseeenes 17

Schwartz v. Public Adm’r of Bronx,
QA N.Y .2d 65 (1969) ooo cccc ces eeceee cece eeeseeceecsseenseeeseeeseetseeeseesseeesseesseeneeenas 33

Sealey vy. Giltner,
197 F.3d 578 (2d Cir. 1999)... cece cccccececseceeeeeeeeeesseenseeeseeseeeseenseenseenes 32

Sharapata v. Town of Islip,
56 N.Y .2d 332 (1982) ooo cccccececscecseceseceeeeseceeseeeseeeseeeseeesseesseenseeneeeeeesees 46

Shuford v. Cardoza,
2023 WL 2706255 (E.D.N.Y. Mar. 30, 2023) .....0cccccceccceecceeceeeseeesseenseenseeneeenes 53

Simpson y. Pittsburgh Corning Corp.,
901 F.2d 277 (2d Cir. 1990)... ccccccecetsceesceeseeeseeesseesseeeeesseenseeneeeseeesees 49

State Farm Mut. Auto. Ins. Co. v. Campbell,
538 U.S. 408 (2003) oo. ecccccceeccceccceeececeeseessecseecsseeeseesseenseeetseeeseesseeesees 52, 53, 54

Stuart v. Stuart,
297 Conn. 26 (2010) .o..cciccccccccccccccecccsseceseeecsseeeeseecsseesesseesseeessseesssesesieesssesensees 50

Synder v. Phelps,
562 U.S. 443 (QOL) cece cece cece cece cee ceeeeeeesseeeseesssesseesseesseesseeseeeteeeaes 2,25

The Berlitz Schools of Languages of Am., Inc. v. Everest House,
619 F.2d 211 (2d Cir. 1980)... cece cece eeceeeeeseeeeeeeseeesseeeeeseesaeeeeeeseeesees 34

Vill
Case: 24-644, 01/30/2025, DktEntry

Thomas v. G2 FMV, LLC,

147 A.D.3d 700 (1st Dep’t 2017) oo...
Thompson v. Trump,

590 F. Supp. 3d 46 (D.D.C. 2022)...
Trump v. Carroll,

292 A.3d 220 (D.C. 2023) oececcccccccceteeteees
Trump v. Hawaii,

585 U.S. 667 (2018)... ccc cet ceetteeeeeeens
Trump v. Mazars USA, LLP,

591 US. 848 (2020)... ccc ccncectteeeeeeens
Trump v. United States,

603 U.S. 593 (2024) ooo ceeeeetteeeeeeens
Trump v. Vance,

591 U.S. 786 (2020)... cccccccccctceetteeeteeens
Turley v. ISG Lackawannda, Inc.,

774 F.3d 140 (2d Cir. 2014)... eee
United States v. Burr,

25 F. Cas. 30 (C.C.D. Va. 1807)...
United States v. Helstoski,

AAD US. 477 (1979)... cect eceteceeneeeneees
United States v. Loc. 1804-1,

44 F.3d 1091 (2d Cir. 1995)... eee
United States v. Nixon,

A18 U.S. 683 (1974) oo cccccc cece ceteeeeteeeteees
United States v. Quinones,

511 F.3d 289 (2d Cir. 2007)

1X

: 88.1, Page 10 of 71
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 11 of 71

United States v. Quintieri,

306 F.3d 1217 (2d Cir. 2002)... ccc ccc cccreceneeeeseeesseecsseeseseseneeestieenteeens 21
United States v. Salameh,

152 F.3d 88 (2d Cir. 1998) ooo. cccccececseeceseeeeeenecesseeeseeeseesseeeseenseesseenes 4]
United States v. Spoor,

904 F.3d 141 (2d Cir. 2018)... ec ccccctceesceeseeeeseesseesseeeeenseenaeeneeeteeenees 39
United States v. Spruill,

808 F.3d 585 (2d Cir. 2015)... cece cece ceteceseceeseeeseeeseeeseeesseeeeetseeneeeeeesees 38
Warren v. Pataki,

823 F.3d 125 (2d Cir. 2016)... cece cece cetccensceesceeseeeseecsseesseceeenseenaeeeeeesees 30
Zeno v. Pine Plains Cent. Sch. Dist.,

702 F.3d 655 (2d Cir. 2012)... cccceccceecetsceesceeseeeseeesseesseeeeensecnaeeeeeeeeesees 55
Zivotofsky ex rel. Zivotosfky v. Kerry,

576 U.S. 1 (2015) coc cceccccccc ccc ee cecsecnseceseceseeeeeeeseesseeeseesseeesseesseenseeseeeeeesees 16
FEDERAL RULES
Fed. R. Evid. 103(d) oo... cece ccccccseceneceseceeeceeseeeseeeseeeseeeseessaeenseeeeesteeetseeeseeeseess 39
Fed. R. Evid. 403 oo.ccccccccccccccccccccecseceeceseeeeeceeseeeseecseecseeeeecsaeesaeeeeeeteeetseeeeeeseees 39
Fed. R. Evid. 610 ooo cece ccceceseceseceseeeeeceeseeeseecseecseeeseessaesnaeeeeeeteeetseeseeeseens 39
Federal Rule of Civil Procedure 12(b)(6) ....... ccc ccc cccsecesteeeeeeceseeestsesesseeeses 17
Federal Rule of Civil Procedure 49(a) .......cccccccccccccccccccssececseecseesesseeseeesssesesseeenes 37
STATUTES
N.Y. CPLR § S501 (6) occ ccccceecceteceeseeeeeeeseeeseeesseessecsaeceaeesseeeseeetseetseeseeeeees 42
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 12 of 71

OTHER AUTHORITIES

Akhil Reed Amar & Neal Kumar Katyal, Executive Privileges and Immunities:
The Nixon and Clinton Cases, 108 Harv. L. Rev. 701 (1995)... cece 18

Congressional Oversight of the White House, 45 Op.O.L.C. _, 2021 WL
222744, (Jan. 8, 2021)... ccccccceccceccceneceseenseeeecsseesseeeeessseetseeeseessseetestseesseesas 19

Immunity of the Assistant to the President and Director of the Office of
Political Strategy and Outreach from Congressional Subpoena, 38 Op.

O.L.C. _, 2014 WL 10788678 (Jul. 15, 2014) ooo. cece ereeeeteenee 19
44 N.Y. Jur. 2d, Defamation and Privacy § 230........cccccccc cc cccccccssececsseeeeessteeenees 46
N.Y. Pattern Jury Instr. Civ. 3:30 ooo. ccc cccccccccccccecseececseeecesseeseesaeeeeseeesetsaeeees 45
Prosser & Keeton, Torts § 2 (Sth ed. 1984) ooo ccc ccc cccteeeesseesteeestseseseeeenes A7

Robert D. Sack & Lyrissa Barnett Lidsky, Sack on Defamation, § 10:3.5[A]
(Sth ed. 2OV7) ooo cccccccccesccccescesecsseesseeseeseessecssesseensesseessecssesseensesseeseeeeeeseenees 46

Testimonial Immunity Before Congress of the Former Counsel to the President,
43 Op. O.L.C. __, 2019 WL 2315338 (May 20, 2019) oo. eect eects 19

XI
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 13 of 71

PRELIMINARY STATEMENT

In Zrump v. United States, the United States Supreme Court reiterated a
fundamental principle of our democracy: “The President is not above the law.” 603
U.S. 593, 642 (2024). At the very outset of this case, President Donald J. Trump
(“Trump’’) agreed that the President is not “above the law,” clarifying that “no one
is seeking to ‘escape accountability’ here.” SA.21.! And last year, a unanimous
jury, in accordance with that central tenet of law, held Trump accountable for
defaming E. Jean Carroll (“Carroll”) in 2019, after she had revealed that Trump, then
a private citizen, had sexually assaulted her in a dressing room at Bergdorf Goodman
in 1996.

Dissatisfied with the outcome of the judicial process, Trump now asks this
Court to set aside that jury verdict on the theory that he was actually immune from
judicial review all along, and he could not have waived immunity, even though he
clearly intended to do so. But as this Court already held in this case, presidential
immunity can be waived and Trump waived it here. Carroll v. Trump, 88 F.4th 418
(2d Cir. 2023) (Cabranes, J.) (‘Carroll 3”). Trump contends that the Supreme
Court’s decision in 7rump somehow renders this Court’s decision in Carroll 3—and

the jury’s verdict—a nullity. According to him, because 7rump establishes that

' All references to “SA. _” are to Appellee’s Supplemental Appendix, _. Citations
to “Br. ” are to Appellant’s brief, “A. ” to Appellant’s Appendix, and “SPA. ” to
Appellant’s Special Appendix.

Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 14 of 71

presidential immunity is a non-waivable component of subject matter jurisdiction,
the courts could not have heard this case at all. Not so. The immunity possessed by
members of Congress, judges, States, and the federal government is a defense and
thus waivable—not a lacuna of the federal courts’ subject-matter jurisdiction.
Nothing in 7rump suggests anything different with respect to a president’s immunity
from civil suit. Indeed, 7rump never even mentions waiver.

Even if Trump had not waived immunity, he would not be immune in this
case. When a President speaks publicly, whether he enjoys any immunity depends
on the “content, form, and context” of his communications. 7rump, 603 U.S. at 629
(quoting Snyder v. Phelps, 562 U.S. 443, 453 (2011)). And if there were ever a case
where immunity does not shield a President’s speech, this one is it. Donald Trump
was not speaking here about a governmental policy or a function of his
responsibilities as President. He was defaming Carroll because of her revelation that
many years before he assumed office, he sexually assaulted her. The defamation at
issue concerned quintessentially “personal” conduct. /d. Trump’s claim that he was
merely trying to preserve “his efficacy in office,” Br. 23, lies well outside the
boundaries of the official acts that immunity protects.

Trump’s remaining objections to the judgment below can be dispensed with
fairly easily. Judge Kaplan correctly determined that, because of the jury’s verdict

at a prior trial, it was already established that Trump had sexually abused Carroll,
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 15 of 71

and that he made his defamatory statements with actual malice. The court also
properly limited Trump’s testimony based upon his counsel’s own proffer and to
prevent prejudice and confusion.

Finally, the trial court correctly upheld the jury’s award of damages. The
jury’s compensatory damages award of $18.3 million did not just cover damages for
Carroll’s reputation repair program (i.e., to rehabilitate her image) and emotional
distress, as Trump claims. It also compensated Carroll for other harm, including the
devastation to her career and the threats of rape and murder that she continues to see
every time she looks at her phone. As for punitive damages, the district court
properly instructed the jury that Carroll was only required to prove common-law
malice—an instruction consistent with the overwhelming weight of case law as well
as New York’s pattern jury instructions—and to only do so by a preponderance of
the evidence, as the New York Court of Appeals has held. Corrigan v. Bobbs-
Merrill Co., 228 N.Y. 58, 66 (1920). The district court properly upheld the jury’s
punitive damages award of $65 million as well. Throughout the trial, the jury had a
front-row seat to Trump’s relentless campaign of malice, including his repeated
defamation of Carroll at press conferences he held and in statements he posted on
social media while the trial was ongoing. The jury’s award, which was just under
four times the compensatory damages award, was not only just, but clearly aimed at

the goal of deterring further defamation.
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 16 of 71

STATEMENT OF THE ISSUES

1. Whether Donald Trump was amenable to suit either because he was not
entitled to presidential immunity, or because such immunity is waivable and he
waived it (and cannot relitigate that issue now), and whether the Supreme Court’s
decision in 7rump changes the answer to these questions.

2. Whether the district court properly held that Trump’s statements were
both false and made with malice as a matter of law in light of the prior verdict and
the court’s factual findings at the first trial.

3, Whether the district court properly limited Trump’s testimony in light
of the first trial and based on his trial counsel’s concessions at the second trial.

4, Whether the district court properly upheld the jury’s award of $7.3
million in compensatory damages for harm not related to the reputation repair
program.

5. Whether the district court properly instructed the jury that in order to
recover punitive damages, Carroll needed only to prove common-law malice.

6. Whether the district court properly instructed the jury that Carroll
needed only to prove punitive damages by a preponderance of the evidence.

7. Whether the district court properly upheld the jury’s $65 million

punitive damages award.
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 17 of 71

STATEMENT OF THE CASE

The factual background of this case is largely addressed in this Court’s recent
decision affirming the judgment in the first trial and is recounted here only as
necessary. Carroll vy. Trump, 124 FAth 140 (2d Cir. 2024) (per curiam)
(“Carroll £”).?

In 1996, while he of course was still a private citizen, Trump sexually
assaulted Carroll in a dressing room at Bergdorf Goodman, the luxury department
store on Fifth Avenue in Manhattan. Carroll came forward with her account in 2019.
Trump responded by lying and maligning her; he falsely claimed he had never met
her and falsely accused her of fabricating her story to sell books and carry out a
political agenda. He also insulted her appearance and implied that she had lied about
being sexually assaulted by other men. SPA.4-7. Trump at the time also warned in
his public statements that Carroll had entered “dangerous territory” and that she
“should pay dearly for such false accusations.” SPA.5-6. She did. This was the
beginning of a years-long (and continuing) defamation campaign that succeeded in

destroying Carroll’s name, reputation, and sense of personal safety.

? We refer to this Court’s prior decisions in Carroll’s two lawsuits against Donald
Trump in chronological order: Carroll v. Trump, 49 F Ath 759 (2d Cir. 2022)
(Calabresi, J.) (“Carroll 1”); Carroll v. Trump, 66 F.4th 91 (2d Cir. 2023) (per
curiam) (“Carroll 2”); Carroll v. Trump, 88 F Ath 418 (2d Cir. 2023) (Cabranes, J.)
(“Carroll 3°); and Carroll vy. Trump, 124 F.Ath 140 (2d Cir. 2024) (per curiam)
(“Carroll 4”).
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 18 of 71

Carroll first brought this defamation action in state court on November 4,
2019. Trump was then serving his first term as President. On February 4, 2020,
Trump moved to stay the state court proceedings, arguing that the Supremacy Clause
“bars state-court subject matter jurisdiction over actions against a U.S. President
while he or she is in office.””SA.6. Contrary to his arguments here, in a letter to the
state court judge, Trump explicitly and unequivocally stated as follows:
Finally, no one is seeking to “escape accountability” here.
Plaintiff is free to pursue this action when the President is
no longer in office. Plaintiff's repetition of the assertion
that a postponement of proceedings would place the
President “above the law” does not make it so, and has
been squarely rejected by the Supreme Court.

SA.21 (citations omitted).

While this case was pending, and after he left office, Trump defamed Carroll
again three years later in October 2022. Accordingly, Carroll brought a second
action against him asserting a defamation claim based on the 2022 statement, as well
as a battery claim stemming from the 1996 assault, which had been revived as a
result of the passage of the New York Adult Survivors Act. That case was tried first

over the course of two weeks in April 2023.° At the conclusion of the two-week

trial, the jury unanimously returned a special verdict finding that Trump had sexually

3 The district court denied the parties’ proposal to consolidate the trials because
“approval of the consolidation proposal would be in tension with the deference to
the Second Circuit and the District of Columbia Court of Appeals,” given the then
still pending appellate proceedings in this action. SA.45.
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 19 of 71

abused Carroll. SPA.78. That jury also found that Trump’s October 2022 statement
denying the assault was defamatory. SPA.79. The jury awarded Carroll $2.02
million in compensatory and punitive damages on the battery claim and $2.98
million in compensatory and punitive damages on the defamation claim. This Court
affirmed that verdict. Carroll 4, 124 F 4th at 178 (“The jury made its assessment of
the facts and claims on a properly developed record.”).

This appeal involves the case that was brought first (in 2019), but tried second
(at the beginning of 2024). Trump affirmatively chose to litigate Carroll’s claims
and elected not to raise the defense of presidential immunity—an understandable
choice, given that his defamatory statements had nothing to do with his official
duties. He only shifted gears on the eve of trial, when he raised the defense of
presidential immunity for the first time in his reply brief on summary judgment.
A.845. The district court correctly held that presidential immunity was waivable,
had been waived, and further determined that immunity would not apply to Trump’s
defamatory statements against Carroll in any event. SPA.10-19. This Court
affirmed on the first two waiver questions and did not reach the third. Carroll 3, 88
F 4th at 434-35. In addition, based on the findings at the first trial, the district court
granted partial summary judgment to Carroll on the issue of liability. Accordingly,
the scope of the trial here in this case was limited to determining the damages that

resulted from the defamatory statements that Trump made in 2019. SPA.71.
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 20 of 71

At the trial whose verdict is now before this Court, Carroll testified that
because of Trump’s statements, she “liv[ed] in a new universe,” and that when “one
of the most powerful people on earth,” called her “a liar for three days ... 26 times,”
“it ended the world I had been living in.” A.1169. The jury saw and heard Carroll
describe the onslaught of hateful, terrifying messages that she received in the days
immediately after Trump’s statements and had the opportunity to see for themselves
some of the messages that she later received threatening to kill and rape her, while
parroting Trump’s own defamatory words by calling her a liar, fraudster, ugly, and
a political hack. A.1187-1192; see also, e.g., A.1196 (“he wants to stick a gun in
my mouth and pull the trigger”); A.1195 (“my neck stretched immediately after a
quick public trial”); A.1192 (“You lying whore. You lying scag. You lying slut.”);
A.1193 (Carroll received image in a message of “a very dead woman on the
pavement with some of her brains coming out”). Carroll further testified that while
she used to write the nation’s leading advice column in Elle Magazine, she lost that
job, and her replacement Substack column had only 1,800 paid subscribers. A.1246-
48. In addition, the jury heard from Carroll’s expert witness, Professor Ashley
Humphreys, who explained what it would cost to run a program to repair the damage
Trump had inflicted on Carroll’s reputation, with a conservative range from $7 to 12

million. A.1465.
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 21 of 71

The jury also saw and heard from Trump himself. He testified—very
briefly—aunder oath from the stand. For the most part, he chose to make improper,
unsworn statements and gestures in front of the jurors and the judge. For example,
when the Court asked the prospective jurors to raise their hands if they thought
“Trump is being treated unfairly by the court system,” Trump raised his hand.
A.1965 (citing Molly Crane-Newman & Kerry Burke, Donald Trump Attends Jury
Selection at NYC Trial Against E. Jean Carroll, N.Y. Daily News (Jan. 16, 2024)).
When he heard the jury instruction that the jury must accept that he both had sexually
assaulted Carroll and later made defamatory statements about her, Trump visibly
“shook his head in disgust.” A.1964 (citing Larry Neumeister, et al., 7rump Scowl!s
as Jury Is Picked to Decide How Much He Owes for Defamation in E. Jean Carroll
Case, Los Angeles Times (Jan. 16, 2024)). When the court described his assault of
Carroll, Trump “made a loud ‘yech’ sound.” A.1964-65 (citing Maggie Haberman
& Kate Christobek, At the Defense Table, Trump Uses the Courtroom as a Stage,
N.Y. Times (Jan 28, 2024)). During Carroll’s testimony, Trump’s counsel was
warned by the judge that Trump had “been loudly saying things throughout Ms.
Carroll’s testimony, including things that Ms. Carroll is saying are false and noting
that she seems to have now gotten her memory back.” A.1183. And after the first

few minutes of Carroll’s closing argument, Trump, who was sitting less than ten feet
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 22 of 71

away from where Carroll’s counsel was standing, conspicuously stood up and
walked out of the courtroom in full view of the jurors. SPA.141.

The jury entered a verdict in Carroll’s favor on January 26, 2024, awarding
her $11 million for the reputation repair program presented by Professor Humphreys
and $7.3 million in other compensatory damages. A.1014. It also awarded Carroll
$65 million in punitive damages. A.1015. The district court denied Trump’s motion
for anew trial. SPA.127. This appeal followed.

SUMMARY OF THE ARGUMENT

The judgment below should be affirmed.

First, Donald Trump is not immune from liability. As this Court held in
Carroll 3, presidential immunity is waivable and he waived it here. Trump offers
no legitimate reason to revisit the law of the case, and even if he could argue
immunity now, the district court’s analysis comports entirely with what 7rump
requires, and Judge Kaplan correctly concluded that Trump enjoys no immunity with
respect to his statements about Carroll.

Second, the district court properly granted summary judgment to Carroll on
the issues of falsity and actual malice. On falsity, because Trump’s 2019 and 2022
statements were materially the same, the first jury’s finding of falsity was preclusive.
On actual malice, Trump does not challenge the district court’s finding that the

factual record here warranted summary judgment. The district court also correctly

10
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 23 of 71

ruled in the alternative that the issue of actual malice was the same across both cases,
and Trump never identified any change in circumstances to warrant determining
otherwise.

Third, the district court properly limited Trump’s testimony at the second trial
because his counsel expressly agreed to the limitations in an offer of proof, which
was required due to Trump’s repeated improper efforts to relitigate the issue of
falsity in front of the jury. The district court’s ruling was also justified to prevent
Trump from presenting inadmissible evidence and to avoid confusion and prejudice.

Fourth, the district court correctly denied Trump’s motion to remit the $7.3
million compensatory damages award, which was not solely for emotional distress
and was not unreasonable.

Fifth, the district court properly instructed that Carroll was required only to
show common-law malice for punitive damages. Trump’s contention that common-
law malice must be the “sole” motivation defies settled precedent.

Sixth, the district court properly instructed the jury that Carroll needed to
prove punitive damages by a preponderance of the evidence in accordance with New
York law, rather than by clear and convincing evidence.

Seventh, the district court properly denied remittitur of the $65 million

punitive damages award. That award falls well within the governing constitutional

11
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 24 of 71

boundaries, and was justified by Trump’s behavior at trial. The award was also
warranted to attempt to deter Trump from defaming Carroll again.

ARGUMENT

I. DONALD TRUMP IS NOT ENTITLED TO PRESIDENTIAL
IMMUNITY FOR THE STATEMENTS AT ISSUE HERE

This Court held in Carroll 3 that “presidential immunity 1s waivable,” and that
Trump “waived” it here. 88 F.4th at 425. That is the law of this case. See, e.g.,
Palin v. New York Times Co., 113 F 4th 245, 262 (2d Cir. 2024). Nothing in the
Supreme Court’s decision in 7rump vy. United States changes, let alone undermines,
this Court’s prior conclusion. And, as the district court held, Trump would not be
immune for the statements at issue in this case in any event.

A. Presidential immunity is waivable.

As Trump concedes, the law of the case doctrine bars him from relitigating
whether presidential immunity can be waived unless he can identify “an intervening
change in law” or “the need to correct a clear error.” Br. 17 (citation and quotation
marks omitted). Trump points to 7rump, arguing that the Supreme Court’s decision
somehow “supersedes and contravenes” Carroll 3. Br. 8. But not only 1s Carroll 3
entirely consistent with 7rump, the Supreme Court’s decision does not involve
waiver at all; indeed, it never mentions the word. And all of the arguments that
Trump raises here were either considered by this Court in Carro// 3 or have been

waived.

12
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 25 of 71

1. The Supreme Court’s decision in 7rump v. United States did not
change the relevant law.

Trump suggests that after the Supreme Court’s decision in 7rump, it is now
clear that presidential immunity is based on the President’s “unique position in the
constitutional scheme, as the only person who alone composes a branch of
government,” as well as his need to take “bold and unhesitating action.” Br. 12
(quoting 7rump, 603 U.S. at 610, 613). But that has been the law for decades, Nixon
v. Fitzgerald, 457 U.S. 731, 749 (1982), which is why this Court recognized the
distinctive nature of the presidency in Carroll 3, yet still had no trouble concluding
that presidential immunity can be waived, 88 F.4th at 428. As this Court recognized,
“separation-of-powers considerations militate in favor of, not against, recognizing
presidential immunity as waivable,” because “[a] President’s autonomy should be
protected; thus, a President should be able to litigate if he chooses to do so.” 88
F 4th at 427-28 (emphasis in original); see also Cheney v. U.S. Dist. Court, 542 U.S.
367, 389-90 (2004) (“occasions for constitutional confrontation” between the
Executive and Judiciary “should be avoided whenever possible’) (quoting United
States v. Nixon, 418 U.S. 683, 692 (1974)).* Indeed, both Trump and Carroll 3 relied
centrally on Fitzgerald, a decision this Court concluded “hurts, not helps, [President

Trump’s] case” because its analysis reinforces that presidential immunity, like any

4 While Trump acknowledges this reasoning, Br. 10, he does not respond to it, let
alone explain how 7rump undermines it, see id. at 10-16.

13
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 26 of 71

other absolute immunity, constitutes a defense, and is not a component of subject
matter jurisdiction. 88 F.4th at 426; see Trump, 603 U.S. at 610, 613. Cf Trump v.
Vance, 591 U.S. 786, 801-02 (2020) (Fitzgerald “drew a careful analogy to the
common law absolute immunity of judges and prosecutors” in defining presidential
immunity). And Fitzgerald itself relied upon a century’s worth of precedent where
the immunity of non-presidential officials had unquestionably been waived. 457
U.S. at 750 n. 31.

Trump next argues that the Supreme Court’s decision in 7rump “places this
case squarely within the line of cases holding that immunity doctrines rooted” in the
separation of powers cannot be waived. Br. 8,11, 14. But there is no such “line of
cases.” In the single decision Trump cites, United States v. Helstoski, 442 U.S. 477
(1979)—a criminal case—the Supreme Court expressly declined to decide whether
immunity under the Speech or Debate Clause could be waivable. /d. at 490-91.
What the Court actually held in He/stoski was that because the Speech or Debate
Clause is intended “to preserve the constitutional structure of separate, coequal, and
independent branches of government” through “exemption from prosecution,” a
waiver of legislative immunity requires an “explicit and unequivocal renunciation.”
Id. at 491 (citation and quotations omitted) (emphasis added). The Court concluded
that the defendant had not waived immunity through his own actions, and it declined

to decide whether Congress could waive such immunity on behalf of its members.

14
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 27 of 71

The Supreme Court was careful to note that “the privilege was not born primarily of
a desire to avoid private suits,’ which did not raise the same concerns. /d. at 491
(citations and quotations omitted) (emphasis added).°

Nothing in Helstoski states or even implies that legislators are barred from
waiving legislative immunity in civil cases.° And nothing in Helstoski helps Trump
here. This is not a criminal prosecution (like 7rump) that could somehow threaten
the “constitutional structure of separate, coequal, and independent branches of
government,” id.; it is a private suit for damages. And Carroll is not relying on any
implication to establish waiver. She is instead relying on Trump’s explicit and
unequivocal waiver of immunity from the very beginning of this case, as set forth
above. Helstoski, 442 U.S. at 490-91 (emphasis added); SA.21.

2. Contrary to Trump’s suggestion, presidential immunity is not a
jurisdictional question.

As this Court explained, quoting Nevada v. Hicks, the Supreme Court has
recognized that “there is no authority whatever for the proposition that absolute- and

qualified-immunity defenses pertain to the court’s jurisdiction.” Carroll 3, 88 F 4th

> Indeed, Trump acknowledged this important difference between the criminal and
civil contexts in 7rump itself. No. 23-939, Br. of Pet. 25 (Mar. 19, 2024).

© Several years earlier, in Gravel v. United States, the Court held that such immunity
extends to congressional aides, but that as a privilege “of the Senator,” it can be
“waived by the Senator.” 408 U.S. 606, 617, 622 n.13 (1972) (citation omitted); see
also Helstoski, 442 U.S. at 492 (relying on Grave’).

15
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 28 of 71

at 425 (quoting 553 U.S. 353, 373 (2001)). Trump did not acknowledge Hicks
during his last appeal, id., and he doesn’t so now either—even as he asserts that
Trump overruled Hicks sub silentio. Br. 10. That is because he has no response to
Hicks. And Trump’s own prior conduct in litigation belies his argument here: in the
Emoluments Clause litigation during his first term as president, Trump himself
argued that “[a]bsolute immunity is a ‘defense on the merits, not a limit on the
Court’s jurisdiction.”” Trump Reply Br. at 1, D.C. v. Trump, No. 18-2488 (4th Cir.
Feb. 21, 2019); see also K&D, LLC v. Trump Old Post Off., LLC, 2018 WL 6173449,
at *3 n.2 (D.D.C. Nov. 26, 2018) (“during the oral argument the parties agreed that
neither absolute presidential immunity nor federal preemption are threshold issues
that must be decided before reaching the merits”) (emphasis in original); Br. for
Appellee, Cohen v. Trump, No. 23-25 (2d Cir. July 24, 2023) (raising no issue with
district court dismissing claim on merits without first resolving assertion of
presidential immunity).

To the extent that the law of the case does not resolve the question, the
unbroken practice of Presidents (including President Trump) is instructive. See
Zivotofsky ex rel. Zivotosfky v. Kerry, 576 U.S. 1, 23 (2015). Three times in the past
three decades, the Supreme Court has addressed claims of presidential absolute
immunity: 7rump, 603 U.S. 593 (2024) (criminal prosecution); Vance, 591. U.S. 786

(2020) (criminal investigation); and Clinton v. Jones, 520 U.S. 681 (1997) (civil

16
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 29 of 71

litigation). In each of those cases, the president argued vigorously for immunity on
the merits. Yet in none of the briefs submitted by the parties (and none of the Court’s
own opinions) did anyone—not the presidents themselves or the Department of
Justice (“DOJ’)}—describe presidential immunity as implicating a federal court’s
subject matter jurisdiction. Like the proverbial “dog that did not bark,” that silence
speaks volumes. Chisom v. Roemer, 501 U.S. 380, 396 n.23 (1991).

On top of that, presidents represented by DOJ have time and again described
absolute immunity in merits-based rather than jurisdictional terms. DOJ has invoked
such immunity under Federal Rule of Civil Procedure 12(b)(6), rather than Rule
12(b)(1). They have addressed it as a merits question, and never as jurisdictional.’

So too when presidents have been represented by private counsel.®

’ E.g., Mot. to Dismiss at 2, 14-18, Bundy v. Navarro, No. 16 Civ. 1047 (D. Nev.
July 15,2016); Mot. to Dismiss at 1, 3-4, Keyter v. Bush, No. 03 Civ. 02496 (D.D.C.
Feb. 2, 2004); Br. for Appellees at 11-12 & n.4, Saunders v. Bush, No. 92-1962
(5th Cir. Dec. 21, 1992).

8 See, e.g., Br. for Appellees at 1, 25, Browning v. Clinton, No. 98-1992 (D.C. Cir.
Jan. 25, 2002) (invoking Rule 12(b)(6) based upon presidential immunity); Mem. in
Supp. of President Clinton’s Mot. for Judgment on the Pleadings at 36, Jones v.
Clinton, No. 94 Civ. 290 (E.D. Ark. July 3, 1997) (seeking dismissal of Paula Jones’
defamation claim under Rule 12(c) because “allegations fail to state claim for
defamation” due to absolute immunity).

17
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 30 of 71

3. The conclusion that presidential immunity from damages lawsuits is
waivable is reinforced by the fact that every other form of federal
immunity can be waived.

Trump concedes that the federal government can waive sovereign immunity.
Br. 14. So can the States. Br. 14-15. And so can prosecutors and judges. Carroll 3,
88 F.4th at 427-28. There is no reason in precedent, common sense, or our
Constitution why the President should somehow not be able to make decisions for
himself about his own immunity, or why he has any less ability to waive immunity
for himself than he or his subordinates have to waive immunity for the United States.
See also Freytag v. Comm ’r of Internal Revenue, 501 U.S. 868, 895 (1991) (Scalia,
J., concurring in part and concurring in the judgment) (there is “no support in
principle or in precedent or in policy” for a “blanket rule that arguments premised
on the Constitution’s structural separation of powers are not waivable’’); Akhil Reed
Amar & Neal Kumar Katyal, Executive Privileges and Immunities: The Nixon and
Clinton Cases, 108 Harv. L. Rev. 701, 714 n.53 (1995) (“[Presidential] immunity is
of course waivable. Surely the President in whatever spare time he has should be
allowed to litigate civil damage actions—or to watch basketball for that matter—but
he should not be legally obliged to do either.”’”). As this Court previously observed,
it disrespects the President’s authority to deny him the ability to waive immunity.

Carroll 3, 88 F 4th at 426.

18
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 31 of 71

By the same token, DOJ’s Office of Legal Counsel (“OLC’) has long viewed
the immunity of the President and his senior advisers from compelled testimony
before Congress as absolute, see Testimonial Immunity Before Congress of the
Former Counsel to the President, 43 Op.O.L.C. __, 2019 WL 2315338, at *2 & n.1
(May 20, 2019), and it has emphasized that this immunity implicates core separation
of powers concerns, see Congressional Oversight of the White House, 45 Op. O.L.C.
__, 2021 WL 222744, at *15-20 (Jan. 8, 2021) (citing Nixon in analogizing such
immunity to that from private litigation). Yet even so, OLC has repeatedly
confirmed that the President may waive this “immunity through accommodations
between the political branches,” and that such a waiver preserves the separation of
powers values at stake. Testimonial Immunity Before Congress, 2019 WL 2315338,
at *8. As OLC has explained, “voluntary testimony by a senior presidential adviser
represents an affirmative exercise of presidential autonomy,” since the President is
free to weigh “the benefit of providing such testimony” against “the potential for
harassment and harm to Executive Branch confidentiality.” Jmmunity of the
Assistant to the President and Director of the Office of Political Strategy and
Outreach from Congressional Subpoena, 38 Op. O.L.C. __, 2014 WL 10788678, at
*3 n.2 (Jul. 15, 2014). The same is true here. The President should have the power
to decide whether to waive absolute immunity or not, and judicial recognition of that

authority preserves, rather than undermines, the separation of powers.

19
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 32 of 71

B. Trump waived whatever presidential immunity he might have
had.

In addition to establishing that presidential immunity can be waived, the law
of the case establishes that Trump waived it here. Trump contends that Carroll 3 is
no longer good law because after 7rump, if presidential immunity is not unwaivable,
it at least requires “an explicit and unequivocal renunciation.” Br. 11 (quoting
Helstoski, 442 U.S. at 490-91). According to Trump, this Court erred in Carroll 3
because it merely held that he “forfeited immunity by failing to raise it early
enough.” /d. (emphasis in original). But Trump cannot raise that argument for the
first time now, and that isn’t what happened or what this Court held in any event.

1. The Supreme Court’s decision in 7rump vy. United States did not
change the relevant law with respect to waiver.

As noted above, 7rump does not suddenly create a new rule for waiver of
presidential immunity—it does not discuss “waiver” at all. And Trump obviously
could have made this argument about requiring “explicit and unequivocal
renunciation” in his prior interlocutory appeal in Carro// 3 since Helstoski was
decided in 1979. Instead, Trump chose to argue that presidential immunity cannot
be waived at all, even conceding in his prior interlocutory appeal that if presidential
immunity is waivable, then he waived it here. Carro/l 3, 88 F 4th at 429 n.52.°

While that tactic failed, Trump cannot now use the Supreme Court’s recent decision

? Trump did not contest waiver at the district court either. SPA.22.

20
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 33 of 71

as a back door to raise issues that were “ripe for review at the time of [the] initial
appeal,” but “nonetheless foregone.” United States v. Quintieri, 306 F.3d 1217,

1229 (2d Cir. 2002).

2. This Court’s decision in Carroll 3 held that Trump waived
immunity.

Trump also misconstrues Carroll 3. This Court did not hold that he had
“forfeited immunity.” Br. 11. It explicitly held that he “waived this defense.” E.g.,
88 F.4th at 423. (Emphasis added.) Trump takes issue with a footnote in Carroll 3

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where the Court recognized that although “‘waiver’ and ‘forfeiture’ ... have slightly
different meanings,” it “matters not” here. Br. 10 (quoting, 88 F.4th at 422 n.1). But
as this Court explained in the very next sentence, that was because “whether [Trump]
intended to relinquish his presidential immunity defense” was “a question of fact
reserved for the district court,” and the district court had made the factual
determination that he had done so. 88 F.4th at 422 n.1, 429-30 (emphasis added);
see also SPA.11-12.

3. The district court correctly found that Trump waived immunity.

The record compels the district court’s factual finding that Trump waived
immunity. Br. 13. The fact that Trump failed to raise presidential immunity as a
defense in 2019 in his initial answer (which he previously conceded amounts to
waiver) is only the tip of the iceberg. SPA.11-12. From the beginning of this case,

as noted above, Trump explicitly and unequivocally represented to the courts that:

21
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 34 of 71

“no one is seeking to ‘escape accountability here.’ [Carroll] is free to pursue this
action when the President is no longer in office.” SA.21 (internal citations omitted)
(emphasis added). Trump made this representation in addressing a different
affirmative defense that he did decide to raise—namely, that the “Supremacy Clause
of the U.S. Constitution bars state-court subject matter jurisdiction over actions
against a U.S. President while he or she is in office,’ SA.6 (emphasis added).

When that strategy failed, Trump proceeded to litigate this case through
discovery for the next three years, along with multiple other efforts at seeking delay.
And all that time, he and his attorneys said nothing about presidential immunity. It
was not until December 2022, on the verge of the first trial, that Trump first sought
to raise the defense of presidential immunity on summary judgment. A.399-415.
Were that not enough, after Trump lost the first trial in May 2023, he chose to
affirmatively invoke the judicial process further by seeking to assert a “tit for tat”
counterclaim against Carroll for defamation. A.887-91.

These are hardly the actions of someone who has somehow forgotten to raise
presidential immunity through “inattention or inadvertence.” Br. 13. They
demonstrate Trump’s repeated, and intentional, use of the judicial process—in a
manner that is completely at odds with any claim of presidential immunity—

followed each time by an abrupt change in course once it became clear that his tactics

22
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 35 of 71

weren’t working. Trump cannot have it both ways. There is no legitimate dispute
that, as this Court already determined, he waived immunity in this case.

C. Trump is not entitled to presidential immunity with respect to the
claim at issue in this case.

Even if Trump’s assertion of presidential immunity were timely and not
waived, it would not help him here. The district court previously held that Trump is
not entitled to presidential immunity after thoroughly considering the contours of
the doctrine as well as the content and context of Trump’s statements about Carroll.
SPA.20-26. And Trump is fully in accord with what the trial court did.!”

As the district court explained, while “the president is entitled to absolute
immunity from liability in civil damages lawsuits “for acts within the outer perimeter
of [his] official responsibility,’” the Supreme Court has “‘never suggested that the
President, or any other official, has an immunity that extends beyond the scope of
any action take, in an official capacity.” SPA.21 (quoting Nixon, 457 U.S. at 756
and Clinton, 520 U.S. at 694). The Supreme Court, in turn, has reaffirmed that “[t]he
President is not above the law” and “not everything [he] does 1s official.” Zrump,
603 U.S. at 642. To the contrary, as the district court stated, “immunities are
grounded in ‘the nature of the function performed, not the identity of the actor who

performed it.”” SPA.22 (quoting Clinton, 520 U.S. at 692-95). The point of

'!0 This Court did not reach the issue in Carroll] 3. 88 F 4th at 430 n.56.

23
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 36 of 71

presidential immunity is “to ensure that the President can undertake his
constitutionally designated functions effectively, free from undue pressure or
distortions,” but ““the law does not discriminate between the president and a private
citizen.”” Trump, 603 U.S. at 611, 615 (emphasis added) (quoting United States v.
Burr, 25 F. Cas. 30, 34 (C.C.D. Va. 1807) (Marshall, C.J.)).

Thus, even accepting Trump’s position that “he was addressing a matter of
public concern because the accusation [by Carroll] impugned his character and, in
turn, threatened his ability to effectively govern the nation,” the question is still
whether his words were “uttered in performance of official acts, or ... expressed in
some other, unofficial capacity.” SPA.23 (quoting Zhompson v. Trump, 590 F.
Supp. 3d 46, 79 (D.D.C. 2022), aff'd, 87 F.4th 1 (D.C. Cir. 2023)).

Trump’s statements about Carroll fell outside the “outer perimeter” of
immunity that extends to the President’s official responsibilities “so long as they are
‘not manifestly or palpably beyond his authority.”” Trump v. United States, 603 U.S.
at 618 (quoting Blassingame v. Trump, 87 F Ath 1, 13 (D.C. Cir. 2023)). When
assessing Trump’s potential criminal liability for his statements to supporters in
connection with January 6, the Supreme Court recognized that notwithstanding the

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President’s “‘extraordinary power to speak to his fellow citizens and on their

99 ¢¢

behalf” and use “the office’s ‘bully pulpit’ to persuade Americans,” “[t]here may

... be contexts in which the President, notwithstanding the prominence of his

24
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 37 of 71

position, speaks in an unofficial capacity.” /d. at 629 (quoting Trump v. Hawaii, 585
U.S. 667, 701 (2018)). The Court recognized that the inquiry is inherently “fact
specific,” dependent on an “objective analysis of ‘content, form, and context.” /d.
(quoting Snyder, 562 U.S. at 453). And it specifically distinguished between “the
President’s personal and official affairs.” /d. (emphasis added) (quoting 7rump v.
Mazars USA, LLP, 591 U.S. 848, 868 (2020)). In other words, rather than simply
conclude that Trump’s statements were immune because they were made to the
public, the Court remanded that “necessarily fact-bound analysis” to the district
court to consider the “content and context” of each of the statements at issue. /d.
Here, the district court engaged in exactly this analysis. See supra at 23-24.
And if anything, 7rump bolsters the district court’s conclusion, given the Supreme
Court’s distinction between speech on “personal” and “official affairs.” 603 U.S. at
629. It is difficult to imagine a better example of presidential speech involving
“personal affairs” than this case. Trump denied an accusation of “personal
wrongdoing” concerning a sexual assault that he committed long before he was in
office, and he did so with “personal attacks” on Carroll, insisting that she “fabricated
her sexual assault accusation and did so for financial and personal gain.” SPA.25.
He also threatened Carroll directly, warning that, by telling the truth about Trump
sexually assaulting her, she had entered into “dangerous territory” and would “pay

dearly” for it. SPA.5-6. Those statements were not connected “to any official

25
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 38 of 71

responsibility of the president.” SPA.25. Nor did they involve any “activities” that
the “President oversees,” or any governmental function that Trump was performing.
Trump, 603 U.S. at 629. It was speech about decades-old personal, private matters,
and it bore zero relation to the operation or administration of the federal government.

Trump insists that his statements must be immune because they were about
“matters of public concern” and “issued through official White House channels.”
Br. 19. But Trump’s attempt to invoke the powers of his office for personal ends
must fail. Were his arguments valid, the Supreme Court in 7rump v. United States
would not have issued the remand it did, which left open the question whether
Trump’s public speech on January 6, in which he addressed the election results on
the Ellipse, was subject to immunity. 603 U.S. at 630. Compare id. at 621 (finding
Trump immune from prosecution for alleged conduct involving discussions with
DOJ officials); see also Clinton, 520 U.S. at 694 (president cannot prevail on
immunity claims by merely insisting their conduct was “taken within an official
capacity,” since “scope of an immunity,” even for official acts, depends on
“performance of particular functions of [the] office”); People v. Trump, 2024 WL
5295022, at *24 (N.Y. Sup. Ct., N.Y. Cnty. Dec. 16, 2024) (Trump’s “entirely
personal” Twitter posts were not part of official conduct). Again, it is the “content,
form, and context” of the statements and their relation to the President’s official

functions and responsibilities that controls, not the fact that the President is speaking

26
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 39 of 71

publicly. Zrump, 603 U.S. at 629. And while “a long-recognized aspect of
Presidential power is using the office’s ‘bully pulpit’ to persuade Americans,” id.,
not every use of that power is subject to immunity. Here, Trump used that bully
pulpit to smear and defame Carroll about an extremely personal issue—the fact that
when he was a private citizen, he had sexually assaulted her—and the only
governmental “function” he has identified is that of speaking to the public. If this is
not an example of the President speaking to the public in an unofficial capacity, then
everything a President says is official and immune—a result that the Supreme Court
has never countenanced.

Even before 7rump, it has been understood in every analogous setting that
statements like the ones at issue in this case are not immune. Prosecutors, for
example are not protected by absolute immunity for statements at press conferences
such as false assertions regarding the nature of the evidence against the accused,
even though press conferences “may be an integral part of a prosecutor’s job.”
Buckley y. Fitzsimmons, 509 U.S. 259, 278 (1993). Nor are judges or legislators.
See Barrett v. Harrington, 130 F.3d 246, 261 (6th Cir. 1997) (“Although it is an
understandable human instinct to defend one’s self in the media when attacked

publicly, such a defense is not a judicial function—tt is self-defense.”); Hutchinson

27
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 40 of 71

v. Proxmire, 443 U.S. 111, 131-33 (1979) (public statements uttered outside of
official congressional proceedings are not shielded by Speech or Debate Clause).!!
At bottom, Trump is arguing that holding him accountable here would chill a
president’s speech in the future, and that like the Wizard of Oz, he must be given
free rein to say whatever he wants whenever he wants without repercussion—no
matter how knowingly false, and no matter how defamatory or damaging. Br. 24.
But it will be the rare case when a president will be responding to accusations of
sexual assault, and rarer still when a president would do so in the false and
destructive way that Trump did here. And if such a case ever comes to pass, and
presidential immunity is actually asserted and not waived, then the courts will have
an opportunity to determine whether the case should proceed, mitigating any risk to
a president’s ability to speak and act. There is no good reason to stretch the law of
immunity beyond its breaking point—and erase the law of defamation as it applies
to a president—simply because Trump acted the way he did as part of his personal

vendetta against Carroll.

'! While Trump relies on Council on American-Islamic Relations v. Ballenger, 444
F.3d 659 (D.C. Cir. 2006), Br. 23, that case involved whether a congressman acted
within the scope of his employment for purposes of the Westfall Act. 444 F.3d at
664-66. Ballenger does not address the question of presidential immunity and the
District of Columbia Court of Appeals recognized in this case, upon certification
from this Court, that Ballenger does not “hold that the conduct of elected officials
speaking to the press is always within the scope of that official’s employment.”
Trump v. Carroll, 292 A.3d 220, 239 (D.C. 2023).

28
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 41 of 71

Il. THE DISTRICT COURT DID NOT ERR IN GRANTING PARTIAL
SUMMARY JUDGMENT TO CARROLL

Trump next challenges the district court’s grant of partial summary judgment
to Carroll on two issues: (1) whether his statements were false, and (2) whether they
were made with actual malice. Br. 25-33; SPA.80-91. Neither challenge withstands
scrutiny.

A. — The District Court properly held that Trump’s statements were
false.

Trump claims that his statements were not false as a matter of law based on
the first trial because the district court misconstrued the judgment to establish that

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he “forcibly penetrated [Carroll] digitally,” when the jury’s finding of “sexual
abuse” could have involved less egregious conduct like “forcible kissing.” Br. 25-
27. But the district court’s issue-preclusion holding was not based on what form of
“sexual abuse” Trump engaged in. It was based on the fact that: (1) the first jury
found that Trump had committed sexual abuse under New York law, which rendered

his 2022 statements false and defamatory; and (2) the 2019 statements at issue here

were “substantially the same.” SPA.83. Indeed, while Trump pretends that the first

' Trump separately argues that the district court could not afford preclusive effect
to the first jury verdict because the judgment in that case was “blatantly erroneous.”
Br. 24. This Court recently affirmed that judgment in Carroll 4, and while Trump
has since filed a petition for rehearing en banc, id., 23-793, ECF 184, the “pendency
of an appeal does not prevent the use of the challenged judgment as the basis of
collateral estoppel.” SPA.80; accord DiSorbo v. Hoy, 343 F.3d 172, 183 (2d Cir.
2003).

29
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 42 of 71

jury’s unanimous finding that Trump had digitally penetrated Carroll’s vagina
“underlies the entirety of [the] district court’s issue-preclusion ruling,” Br. 28 (citing
690 F. Supp. 3d at 399-400 & n.2), the district court mentioned that finding in a
single footnote in the background section, separate from and prior to its
straightforward issue-preclusion analysis. And that makes sense: if Trump “sexually
abused” Carroll in any way, as the first jury found, then his explicit and repeated
denials of ever even encountering her at Bergdorf Goodman were obviously false.
Ultimately, what Trump complains about is not the district court’s issue-
preclusion ruling, but its jury instruction at the second trial that “forcible digital

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penetration had taken place.” Br. 28-29. But Trump waived any such objection
below. A.1702; Carroll vy. Trump, 683 F. Supp. 3d 302, 325 (S.D.N.Y. 2023), aff'd,
Carroll 4; see also Emanian v. Rockefeller Univ., 971 F.3d 380, 387 (2d Cir. 2020)
(applying plain error review after failure to object to jury instruction).'* Trump
cannot use a waived objection to the jury instructions as a back door to challenge the
district court’s grant of summary judgment on liability.

Trump is wrong about the implications of the verdict at the first trial in any

event. As the district court held, “based on all of the evidence at trial and the jury’s

'S Even if Trump had intended to preserve an objection below, see A.1722 (appearing
to backtrack on prior non-objection), the jury instructions were clearly correct and
they were not prejudicial. Warren v. Pataki, 823 F.3d 125, 137 (2d Cir. 2016)

(looking to whether instructions “influence[d] the jury’s verdict’).

30
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 43 of 71

verdict as a whole, the jury’s finding that Mr. Trump ‘sexually abused’ Ms. Carroll
implicitly determined that he forcibly penetrated her digitally.” SPA.49. The jury
heard evidence for two weeks, including nearly three full days of testimony from
Carroll, who provided detailed testimony regarding her experience of being forcibly
penetrated by Trump, which she described as “extremely painful’ because “he put
his hand inside me and curved his finger.” SA.89-90. Carroll further testified that,
as she tried to escape, Trump “inserted his penis.” SA.90. Carroll acknowledged
that she could not really see anything below her shoulders because Trump was
pressing himself so hard against her, but was testifying on the basis of what she felt.
Id. While Trump argued below (as he does here) that the jury might have based its
sexual abuse finding on his “groping of Plaintiffs breast through clothing or similar
conduct,” the court rejected this argument as “frivolous” since no evidence like that
was actually presented to the jury. Carroll, 683 F. Supp. 3d at 326 n.72."
Regardless of the jury’s verdict, Trump completely ignores the district court’s
separate finding that he “forcibly digitally penetrated Ms. Carroll’s vagina.” /d. at

325-326 & nn.70, 72. The district court made that finding pursuant to Federal Rule

'4 Trump makes much of the fact that the jury answered yes to Question 2—whether
he committed “sexual abuse’—but no to Question 1—whether he committed “rape”
within the meaning of the New York Penal Law. SPA.73; Carroll, 683 F. Supp. 3d
at 324-27. As the district court recognized, however, “the jury’s negative answer to
Question | means on/y that the jury was unpersuaded that Mr. Trump’s penis
penetrated Ms. Carroll’s vagina.” Carroll, 683 F. Supp. 3d at 324.

3]
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 44 of 71

of Civil Procedure 49(a) given that the case was submitted to the jury using a special
verdict form, as is proper, and the form did not specifically address the issue of how
Trump committed “sexual abuse.” See, e.g., Sealey v. Giltner, 197 F.3d 578, 586
(2d Cir. 1999). Trump does not even challenge that finding on appeal because he
cannot. And he has never argued—below or to this Court—that the district court’s
finding in this regard is not entitled to preclusive effect. See, e.g., Parklane Hosiery
Co. v. Shore, 439 U.S. 322, 337 (1979) (granting issue-preclusive effect to judge-
made findings).

B. The District Court properly held that President Trump’s
statements were made with actual malice.

Trump also argues that the district court erred in giving preclusive effect to
the first jury’s finding of actual malice. Br. 30-33. But he does not acknowledge,
much less engage with, the district court’s alternative holding that “even if the jury’s
finding in the first trial that Mr. Trump made his 2022 statement with actual malice
was not issue preclusive in this case, Ms. Carroll nonetheless has satisfied her burden
on summary judgment.” SPA.89. That failure, in and of itself, compels affirmance.
See Gross y. Rell, 585 F.3d 72, 95 (2d Cir. 2009) (“[I]ssues not sufficiently argued
are in general deemed waived and will not be considered on appeal”); Romano vy.
Tine, 62 F. App’x 26, 27 (2d Cir. 2003) (plaintiff waived challenge to decision
dismissing complaint where plaintiff failed to address alternative ground for

dismissal),

32
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 45 of 71

Trump’s challenge to the district court’s issue-preclusion ruling fails
regardless. He argues that the “issue” of actual malice at the first trial was not
“identical” to the issue of actual malice at the second trial because his denials of
sexual abuse occurred several years apart, in 2022 and 2019, respectively. Br. 30-
32. But that does not matter. As the New York Court of Appeals has explained,
issue preclusion is a “flexible” doctrine where “the fundamental inquiry is whether
relitigation should be permitted in a particular case,” considering “fairness to the
parties, conservation of the resources of the court and the litigants, and the societal
interests in consistent and accurate results.” Buechel v. Bain, 97 N.Y.2d 295, 304
(2001) (citation and quotations omitted). New York courts, applying the policies
underlying the doctrine, have rejected attempts, like Trump’s here, to narrowly
define the issue in a way that would allow a party to evade a prior adjudication on
the merits. See, e.g., Schwartz v. Public Adm’r of Bronx, 24 N.Y.2d 65, 74-75
(1969).

Courts have long recognized that differences in timing alone will not defeat
issue preclusion. See, e.g., Pignons S.A. de Mecanique v. Polaroid Corp., 701 F.2d
1, 2 (1st Cir. 1983) (Breyer, J.) (prior determination of no likelihood of injury from
alleged trademark infringement based on pre-1980 advertisements and products
precluded relitigation of issue as to post-1980 advertisements and products that did

not “differ in any significant respect from the old”); see also B-Steel of Kansas, Inc.

33
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 46 of 71

v. Texas Indus., Inc., 439 F.3d 653, 661-65 (10th Cir. 2006) (prior determination of
no antitrust injury as to pre-April 2001 period was preclusive where new evidence
as to post-April 2001 period did not demonstrate material factual difference). If
Trump wanted to avoid the adverse determination made at the first jury trial, then it
was incumbent on him to identify some factual reason why the difference in time
mattered. See, e.g., The Berlitz Schools of Languages of Am., Inc. v. Everest House,
619 F.2d 211 (2d Cir. 1980). He did not because he cannot. In this regard, it is not
insignificant that Trump chose not to testify at the first trial—in which the factual
issue of his sexual attack on Carroll was the central question in the case.

The jury in the first trial found that Trump had sexually abused Carroll, and
that in denying her allegations in 2022, he acted with knowledge (or in reckless
disregard) of the fact that he had sexually abused her. These are “objective facts”
from which Trump’s actual malice can be inferred, whether in 2019 or 2022. Celle
v. Filipino Rep. Enters., Inc., 209 F.3d 163, 183 (2d Cir. 2000). As the district court
observed, “no reasonable person could believe that Mr. Trump acted with actual
malice in October 2022, but lacked it in June 2019.” Indeed, “the statements were
substantively identical,” “Mr. Trump’s attacks on Ms. Carroll never wavered and

never varied,” and “Mr. Trump (by his own admission) made absolutely no effort in

34
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 47 of 71

this time period to investigate the issue or to discovery any new information about
the truth of Ms. Carroll’s underlying allegations.” SPA.89.'°

In response, Trump stresses that the legal issue with respect to defamation is
whether he made the “statement with actual malice at the time of publication.” Br.
30 (quoting Celle, 209 F.3d at 182). That does not defeat issue preclusion, which
can apply even when the prior litigation does not even involve the same claim. New
Hampshire v. Maine, 532 U.S. 742, 748-49 (2001). To be sure, while “information
acquired after the publication of defamatory material cannot be relevant to the
publisher’s state of mind of his alleged malice at the time of publication,” Br. 32
(quoting Herbert v. Lando, 781 F.2d 298, 305-06 (2d Cir. 1986)), Trump never cited
any “new information” he had in 2022 that he did not have in 2019: the position he
has taken all along is that Carroll is lying.

But that is not all. Among other things, Trump testified during his deposition
in 2022 (testimony that was admitted at the first trial) that he never read Carroll’s
book or the excerpt of it published in New York Magazine, SA.103 4 16; he never

contacted Bergdorf’s despite representing otherwise to the public, SA.103-04 18;

'S That conclusion is buttressed by Trump’s demonstrated animosity and spite
toward Carroll, whom he called “deranged,” “really sick,” and a “whack job” at his
deposition. The relevant portions of the deposition video were played for the jury.
SA.106 ¥ 24; A.1781-84; see, e.g., Celle, 209 F.3d at 183 (“Evidence of ill will
combined with other circumstantial evidence” indicating reckless disregard “may
also support a finding of actual malice.”’).

35
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 48 of 71

he had no knowledge concerning Carroll’s financial circumstances, the details of
Carroll’s book deal, or her political affiliation or party registration, SA.104-05 4 19-
20; and he took no steps to investigate Carroll’s account, nor did he direct anyone in
his administration to do so, SA.102-03 44 13,17. The jury at the first trial considered
this evidence and concluded that Trump acted with actual malice in 2022. Trump’s
theory is that whatever he knew in 2022, he somehow did not know in 2019. But
again, it’s absurd to think that in 2022, Trump knew that he had sexually assaulted
Carroll in 1996, yet somehow did not know the same thing in 2019. The first jury
unanimously found that he defamed Carroll in 2022, so there can be no rational
dispute that he did so in 2019 and no basis to avoid the preclusive effect of that
finding.

If. THE DISTRICT COURT CORRECTLY EXCLUDED TRUMP’S
IRRELEVANT AND PREJUDICIAL TESTIMONY

Trump next argues that it was error for the district court to limit his testimony
at the second trial. Br. 41-44; A.1692. However, Trump waived any objection in
this regard, and the district court’s limitation was nevertheless appropriate given
Trump’s stubborn refusal to respect the Court’s issue preclusion ruling.

A. Trump waived these arguments.

The district court’s limitations on Trump’s testimony were made in response
to a series of efforts Trump made during the trial to circumvent the court’s ruling on

the truthfulness of Carroll’s allegations—in other words, to relitigate whether he had

36
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 49 of 71

sexually abused Carroll. For example, Trump’s counsel repeatedly implied during
opening statements that Carroll had falsely accused Trump of sexual assault for
political or financial reasons. A.1965. And Trump himself was cautioned by the
district court several times for interrupting the proceedings by loudly denying the
truth of Carroll’s accusations in the presence of the jury. A.1183, 1687. During one
such colloquy, the district court explained: “I hope I don’t have to consider excluding
you from the trial or at least from the presence. I understand you’re probably very
eager for me to do that.” A.1232. Trump responded: “I would love it.” /d. Outside
the courtroom, Trump continued to repeat his defamatory statements against Carroll
while the trial was ongoing, many of which were introduced into evidence. A.2146;
SPA.141 & n.42.

Against this backdrop, it was entirely appropriate for the district court to be
concemed that Trump’s examination and testimony would contain or suggest
inadmissible evidence to the jury and incumbent upon the court to try to prevent that
from happening. A.1680. Trump almost immediately validated the district court’s
concern when he interrupted his counsel’s arguments to state that he intended to
testify “that he never met [Carroll] and had never seen her before.” A.1683; see also
A.1686. In response, the court directed counsel to make an offer of proof regarding

Trump’s anticipated testimony. See A.1680-86; Fed. R. Evid. 103(c).

37
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 50 of 71

Trump’s counsel represented to the court that she intended to ask her client
three questions. As to the first—“‘confirm|[ing] that he stands by all the testimony at
his deposition—the district court allowed the question. A.1681. As to the second—
“why did [Trump] make statements in response to [Carroll’s] accusation”—the
district court did not, as Trump now claims, “direct[] that defense counsel could not
ask that question.” Br. 42. Rather, the district court explained that such an open-
ended question would “likely” lead to an objection that would “in significant
measure” be sustained. A.1689. The court permitted counsel to “elicit the fact that
[Trump] made [his statements] in response” to Carroll’s accusation. A.1689-90.
Trump’s counsel offered no objection, but instead agreed. A.1690 (“As long as we
have the deposition, Your Honor, I think we will be fine.”); see also A.1691. Trump
has thus waived any challenge to the district court’s ruling on appeal. United States
v. Spruill, 808 F.3d 585, 597 (2d Cir. 2015); United States v. Quinones, 511 F.3d
289, 321 (2d Cir. 2007).

As to the third question, counsel herself proposed to ask her client “that he
never instructed anyone to hurt Ms. Carroll in his statements [which] is a simple yes
or no question.” A.1685 (emphasis added). The district court authorized that
question, and then, when Trump proceeded to go beyond the agreed-upon bounds
and testify that he wanted to “defend” himself, struck the testimony. A.1692. Since

no objection was lodged at the time, any challenge on this front is waived as well.

38
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 51 of 71

B. |Trump’s arguments are meritless in any event.

A district court’s “discretion is broad indeed” with respect to “the regulation
of the course and scope of examination of witnesses.” United States v. Loc. 1804-1,
44 F.3d 1091, 1095 (2d Cir. 1995); see Fed. R. Evid. 611. It is also incumbent upon
a court, “[t]o the extent practicable,” to “conduct a jury trial so that inadmissible
evidence is not suggested to the jury by any means.” Fed. R. Evid. 103(d). The
district court here acted well within its broad discretion by placing limits on Trump’s
testimony given his prior improper comments in the presence of the jury and his
stated intention to deny the truth of Carroll’s accusations in violation of the district
court’s rulings on preclusion and summary judgment. See supra at 9-10, 36-37.

The district court also properly excluded such testimony under Rule 403.
United States v. Spoor, 904 F.3d 141, 153 (2d Cir. 2018) (court’s exercise of decision
will be sustained “so long [it] has conscientiously balanced the proffered evidence’s
probative value with the risk for prejudice”). Even after Trump’s counsel agreed to
a simple “yes-or-no” format for the second question, Trump disregarded the question
and told the jury that Carroll had made “a false accusation’ —a clear violation of the
district court’s orders. A.1691-92. And any probative value of Trump’s statement
that “I just wanted to defend myself, my family, and frankly, the presidency,”
A.1692, was outweighed by the risk of prejudice and confusion over the first jury’s

preclusive finding that Trump had sexually abused Carroll. See Fed. R. Evid. 403.

39
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 52 of 71

The district court’s decision to strike this testimony, which went beyond the offer of
proof made by Trump’s counsel, was certainly not “arbitrary or irrational.” Spoor,
904 F.3d at 153 (quotation omitted).

IV. THE DISTRICT COURT PROPERLY DENIED TRUMP’S MOTION

FOR A REMITTUR AS TO THE $7.3 MILLION COMPENSATORY
DAMAGES AWARD

Trump argues that the district court erred in denying his motion to remit the
jury’s $7.3 million compensatory damages award because those damages were
solely for “emotional distress” and therefore excessive. Br. 51. This
mischaracterizes both the record and the law.

A. The $7.3 million award reflects all compensatory damages other
than the reputation repair program.

First, the jury’s $7.3 million award was not for “emotional distress”—a phrase
that does not appear anywhere in the jury instructions or on the verdict form.
A.1014-1040. The jury was specifically instructed to consider two and only two
categories of compensatory damages: (1) damages “attributable to the June 21 and
22 statements, excluding the reputation repair program” that was the subject of
Professor Humphreys’ testimony, and (2) damages “for the reputation repair
program.” A.1856 (emphasis added). As a result, the verdict form broke Carroll’s
compensatory damages into two categories: those “other than for the reputation

repair program,” and “any compensatory damages you award for the reputation

40
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 53 of 71

repair program only.” A.1014 (emphases in original). Further, in assessing
compensatory damages, the jury was instructed to consider:

Carroll’s “standing in the community, the nature of Mr.

Trump’s statements made about her—the two statements

in question—the extent to which those statements were

circulated, the tendency of those statements to injure a

person such as Ms. Carroll and all of the other facts and

circumstances of the case.
A.1854. While Trump acknowledges that “[jJuries are presumed to follow their
instructions,” Br. 50 (quoting United States v. Salameh, 152 F.3d 88, 116 (2d Cir.
1998)), the instructions (and verdict form) here contradict his argument.

Trump points to the district court’s instruction that “[a] person who has been
defamed is entitled to fair and just compensation for the injury to her reputation and
for any humiliation and mental anguish in her public and private lives that was
caused by the defamatory statement in question.” Br. 50 (citing A.1853). But there
is clearly a distinction between damages to “fix the damage that Donald Trump
caused to Ms. Carroll’s reputation,” id. (quoting A.1795) (emphasis added)—the
reputation repair program formulated by Carroll’s expert witness—and other

damages that Carroll suffered on account of his defamatory statements. These

include, among other things, the loss of her career at Elle Magazine, and continuing

41
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 54 of 71

economic and psychological injury. E.g., A.1169, A.1188, A.1202-04, A.1246-48.'°
Nothing in the instruction Trump cites, which must be read in conjunction with the
rest of the jury instructions, mentions “emotional distress,” as a stand-alone
category. Indeed, the instructions reflect the fact that the jury heard extensively from
Carroll about the harm she suffered beyond the cost of her reputational repair
program. A.1023.

B. The $7.3 million award was reasonable.

It was also reasonable for the jury to award Carroll $7.3 million for her
compensatory damages other than the reputation repair program. SPA.135-37. The
district court looked to several comparator cases in the defamation context in
considering whether the award “deviates materially from what would be reasonable
compensation.” Patterson v. Balsamico, 440 F.3d 104, 119 (2d Cir. 2006) (citing
N.Y. CPLR § 5501(c)). Those cases upheld comparable verdicts on “much thinner
evidence of harm” than here, where Donald Trump disseminated “malicious and
unceasing attacks on Ms. Carroll” to “more than 100 million people,” including
“public threats and personal attacks” that “endangered [her] health and safety.”

SPA.136-37.

‘6 What’s more, Trump by and large proposed these instructions. A.992-93. And
he recognized that the two categories here could reasonably be construed as damages
beyond reputation repair program damages and emotional distress. See A.1701.

42
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 55 of 71

Trump tries to distinguish those cases by arguing that the awards did not
involve damages solely for emotional distress. Br. 54-55. But it is the actual jury
instructions and verdict that control, and here, the instructions and verdict do not
provide a basis to parse out emotional distress from other compensatory damages.
The jury’s $18.3 million award is eminently reasonable given awards in far less
severe cases. See, e.g., Prozeralik v. Cap. Cities Comm’cns, 222 A.D.2d 1020, 1020
(4th Dep’t 1995) ($19.2 million award, adjusted for inflation, in economic and non-
economic damages for defamatory comment on local radio and television station),
leave denied, 88 N.Y .2d 812 (1996) (table);'’ Purgess v. Sharrock, 33 F.3d 134, 142
(2d Cir. 1994) ($7.3 million award, adjusted for inflation, for economic damages
alone resulting from defamation); SPA.137-38 (citing same).

Even if the award of $7.3 million were solely for emotional distress, it would
still be proper. Trump argues Carroll could not recover for more than ““garden
variety’ distress” because her “emotional-distress claim rested entirely on her own
testimony,” and not “medical testimony or objective evidence reflecting
psychological, mental, or physical harm.” Br. 52-53. It is well-settled, however,

that “a court is not required to remit a large non-economic damage award, even

' While Trump argues that the award in Prozeralik included damages for physical
injury, Br. 55, the majority decision in that case did not mention “physical injuries,
222 A.D.2d at 1020, nor does an earlier decision in the case, Prozeralik v. Capital
Cities Comm’ncs, Inc., 188 A.D.2d 178, 184-85 (4th Dep’t 1993).

43
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 56 of 71

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where evidence of emotional damage consists solely of plaintiff's testimony.’
Mendez v. Starwood Hotels & Resorts Worldwide, Inc., 746 F. Supp. 2d 575, 601
(S.D.N.Y. 2010) (citation omitted). And here, the “objective circumstances of the
violation itself’ substantiate Carroll’s testimony as to the gravity of the emotional
harm she suffered. Patrolmen’s Benevolent Ass'n of N.Y.C. vy. City of New York, 310
F.3d 45, 55 (2d Cir. 2002).

New York courts have long held that “[i]n a libel case, more, perhaps, than in
any other, the jury is generally considered to be the supreme arbiter on the question
of damages,” Lynch vy. N.Y. Times Co., 171 A.D. 399, 401 (1st Dep’t 1916). In Cantu
v. Flanigan, for example, the court upheld $150 million in non-economic damages
in a defamation action. 705 F. Supp. 2d 220, 222 (E.D.N.Y 2010). That award was
more than twenty times the $7.3 million that Carroll received here. Moreover, while
the $150 million included harm to the plaintiffs reputation as well as “humiliation
and mental anguish” and did not indicate how much was attributable to each, it
would clearly be reasonable to infer that at /east $7 million (or roughly 5%) was
attributable to emotional distress, given that the defendant’s conduct “served to
enhance the mental suffering that Cantu experienced.” J/d.; see also Freeman vy.
Guiliani, No. 21 Civ. 3354 (D.D.C. Dec. 15, 2023), ECF 135 (Dec. 15, 2023) ($20

million award to each plaintiff for emotional distress).

44
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 57 of 71

V. THE DISTRICT COURT CORRECTLY INSTRUCTED THE JURY
ON COMMON-LAW MALICE

Trump’s contention that Carroll needed to show that he was “solely
motivated” by ill will to obtain punitive damages borders on frivolous.

The district court instructed the jury that it could award punitive damages if it
found that Trump made his defamatory statements about Carroll with common-law
malice, defined as “deliberate intent to injure or out of hatred, ill will or spite, or in
willful, wanton, or reckless disregard of another’s rights.” A.1857. That instruction
follows directly from the New York Court of Appeals’ decision in Prozeralik v.
Capital Cities Communications, Inc., 82 N.Y.2d 466, 478-79 (1993), which this
Court has recognized is governing New York law, see, e.g., DiBella v. Hopkins, 403
F.3d 102, 122 (2d Cir. 2005) (citing same), as well as New York’s Pattern Jury
Instructions, N.Y. Pattern Jury Instr. Civ. 3:30.

Trump argues that Carroll was required to also show that common-law malice
was “the only motivation for the statement,” citing the New York Appellate
Division, First Department’s decision in Morsette v. “The Final Call,” 309 A.D.2d
249 (Ist Dep’t 2003). Br. 34-35. But as the district court explained, “when the New
York Court of Appeals first clarified the relationship between actual, or
constitutional, malice and common law malice in Prozeralik, ... it said nothing to
suggest that a seeker of punitive damages must prove that common law malice was

the sole motive for a defendant’s defamation.” SPA.131. Moreover, both before

45
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 58 of 71

and after Morsette—the Court of Appeals and the Second Circuit “repeatedly have
applied the Prozeralik common law malice test for punitive damages without ever
adding a ‘sole motivation’ requirement.” /d. 131 & n.11 (collecting cases). Asa
federal court sitting in diversity, the district court’s role was to “follow the law
directed by the highest court” of New York, not apply so-called “refinements”
proposed by a state intermediate court. Belmac Hygiene, Inc. v. Belmac Corp., 121
F.3d 835, 840 (2d Cir. 1997) (citations and quotations omitted); see also Engel v.
CBS, Inc., 182 F.3d 124, 125 (2d Cir. 1999),

Even if it were the federal courts’ role to second-guess Prozeralik, Trump’s
arguments for raising the burden for punitive damages in defamation cases lack
merit. The standard articulated in Prozeralik, itself a defamation case, reflects a
broad consensus that proof of common-law malice is sufficient to warrant punitive
damages, including in actions for defamation. See, e.g., Robert D. Sack & Lyrissa
Barnett Lidsky, Sack on Defamation, § 10:3.5[A] (Sth ed. 2017) (“As a general rule,
[punitive damages] may be awarded if the trier of fact finds the defendant to be guilty
of ‘malice’ in the common-law sense[.]”); Restatement (Second) of Torts § 908
(Am. L. Inst. 1977) (hereinafter “Restatement”), cited with approval in Sharapata
v. Town of Islip, 56 N.Y.2d 332, 335 (1982). New York law treatises also follow
Prozeralik in defamation cases. See, e.g., 44 N.Y. Jur. 2d, Defamation and Privacy

§ 230.

46
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 59 of 71

As the district court explained, Trump’s argument for a higher burden
improperly conflates two separate and distinct inquiries: (1) the test for overcoming
a qualified privilege, and (2) the test for awarding punitive damages. SPA.131.
While both tests reference common-law malice, they require very different
showings. SPA.129-31. Where an allegedly defamatory statement is shielded by a
qualified privilege, such as communications between employees, Herlihy v. Metro.
Museum of Art, 214 A.D.2d 250, 259 (1st Dep’t 1995), a plaintiff can only overcome
the privilege by showing that the statement was not, in whole or in part, “made to
further the interest protected by the privilege,” Liberman v. Gelstein, 80 N.Y.2d 429,
439 (1992). Punitive damages, by contrast, are intended “to punish” and “are
awarded in tort actions ‘where the defendant’s wrongdoing has been intentional and
deliberate, and has the character of outrage frequently associated with crime.’”
Prozeralik, 82 N.Y.2d at 479 (cleaned up) (quoting Prosser & Keeton, Torts § 2
(5th ed. 1984)). In other words, it is the “outrage or malice” itself that warrants
punishment—not whether the speaker was motivated solely by a desire to harm. /d.
at 479.

In the Morsette case cited by Trump, Br. 34, a sharply divided First
Department panel overturned a punitive damages award in a defamation action for
lack of any evidence that “malice or ill will was directed specifically at plaintiff.”

309 A.D.2d at 255. While the majority went on to state that “a triable issue of

A7
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 60 of 71

common-law malice is raised only if a reasonable jury could find that the speaker
was solely motivated by a desire to injure plaintiff,” id., that was dicta. Moreover,
as the district court observed, the majority cited exclusively to cases including the
standard that a plaintiff must meet to overcome a conditional privilege, see SPA.132
& n.15, and “erroneously carried over” that standard into the context of punitive
damages, SPA.132; accord Morsette, 309 A.D.2d at 261 (Rosenberger and Marlow,
JJ., dissenting) (explaining majority relied on cases concerning “the defense of
privilege” that did not “deal[] with the issue of punitive damages’’). Presumably for
this reason, for the past twenty years, that dicta in Morsette has largely been ignored
by the New York courts. See, e.g., Thomas v. G2 FMV, LLC, 147 A.D.3d 700, 701
(1st Dep’t 2017) (citing Prozeralik and Morsette without reference to any sole-
motivation requirement); Rall v. Hellman, 770 N.Y.S.2d 860, 860 (1st Dep’t 2004)
(citing Prozeralik).

VI. THE JURY INSTRUCTIONS CORRECTLY STATED THE BURDEN
OF PROOF FOR AWARDING PUNITIVE DAMAGES

Trump argues that the district court improperly instructed the jury that Carroll
was required to prove punitive damages by a preponderance of the evidence. Br. 44;

A.1857. But the district court’s instruction followed applicable state law as well as

48
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 61 of 71

the decisions of this Court."®

In Corrigan v. Bobbs-Merrill Co., the New York Court of Appeals established
that “in order to recover punitive damages [for libel] plaintiff is bound to satisfy a
jury by a fair preponderance of the evidence.” 228 N.Y. 58, 66 (1920). Trump
contends that this Court should disregard Corrigan because it has somehow been
overruled. Br. 47. But as the district court observed, while “the Appellate Divisions
have since split,” the New York Court of Appeals has “never has so much as
hinted”—in the last one hundred years—‘that it would modify, limit, or restrict its
rule in Corrigan,” and it is the Court of Appeals’ decision that controls. SPA.135.
Equally as important, this Court “has made clear that it takes the fair preponderance
standard as the binding statement of New York law on this point.” /d. (citing, e.g.,
Celle, 209 F.3d at 184; Simpson vy. Pittsburgh Corning Corp., 901 F.2d 277 (2d Cir.
1990)).

Other than Corrigan, Trump’s sole authority from the New York Court of
Appeals is Cleghorn v. New York Central & Hudson River Railroad Co., an 1874
case stating that if a defendant “is also chargeable with gross misconduct,”

“Ts]omething more than ordinary negligence is requisite.” 56 N.Y. 44, 47-48 (1874);

'8 In fact, the jury instructions on punitive damages that Trump proposed in
connection with the first trial did not reference the “clear and convincing” standard.
SA.66-67.

49
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 62 of 71

Br. 46. But the Court of Appeals’ 1874 decision in Cleghorn obviously could not
have overruled its 1920 decision in Corrigan. In any event, Cleghorn’s use of the
phrase “clearly established” does not refer to a burden of proof; it refers to the nature
of the conduct at issue. /d. at 48.

In addition to relying on Cleghorn, Trump cites to then-Judge Sotomayor’s
decision in Greenbaum v. Svenska Handelsbank, 979 F. Supp. 973 (S.D.N.Y. 1997).
Br. 47-48. But that case actually undermines his argument. There, after conducting
an exhaustive survey of New York federal and state law—including Corrigan and
Cleghorn—the court concluded that “the preponderance standard is the appropriate
standard under New York law.” 979 F. Supp. at 982. Indeed, then-Judge Sotomayor
rejected the reliance of the defendant in that case on Cleghorn, reasoning that it
“focuses all of its analysis on the substantive standard of conduct warranting punitive
damages rather than any evidentiary standard applicable thereto.” /d. at 978.
Trump’s contention that most of New York’s “sister states” apply the “clear and
convincing” standard is also incorrect. Br. 45. Nearly every state that borders New
York (Vermont, Pennsylvania, Connecticut, and Massachusetts) applies the
preponderance standard to award punitive damages. See, e.g., Rubin v. Sterling
Enterprises, Inc., 164 Vt. 582 (1996); Kline v. Sec. Guards, Inc., 159 F. Supp. 2d

848, 850 (E.D. Pa. 2001) (applying Pennsylvania law); Stuart v. Stuart, 297 Conn.

50
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 63 of 71

26, 38 (2010); Santos v. Chrysler Corp., 1996 WL 1186818, at *3 (Mass. Super. Ct.
Sept. 18, 1996).

But even if a clear and convincing standard controlled here (and it does not),
the “exceptional record,” including Trump’s statements that Ms. Carroll would “pay
dearly” for what she had said about him and his continued defamation of Carroll
during the trial itself, SPA 140-42, is “sufficient evidence” to award punitive

‘

damages “under either standard.” Barkley v. United Homes, LLC, 2012 WL
2357295, at *15 (E.D.N.Y. June 20, 2012), aff'd, 557 F. App’x 22 (2d Cir. 2014),
as amended (Jan. 30, 2014) (acknowledging disagreement in New York state courts,
but declining to resolve conflict where evidence was sufficient to support a verdict
under either standard.)

VI. THE DISTRICT COURT PROPERLY DENIED TRUMP’S MOTION

FOR A REMITTITUR AS TO THE $65 MILLION PUNITIVE
DAMAGES AWARD

Finally, Trump contends that the district court erred in refusing to remit the
jury’s $65 million punitive damages award. But again, he misconstrues governing
precedent and downplays the uniquely egregious and devastating nature of his own
conduct, including while the trial was ongoing.

As an initial matter, to the extent that Trump challenges the punitive damages
award under federal common law standards, see Br. 56, Trump is applying the wrong

test. “In deciding remittitur motions in diversity cases” such as this one, “federal

51
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 64 of 71

courts apply federal procedural standards and state substantive law.” Mirlis v.
Greer, 952 F.3d 36, 48 (2d Cir. 2020) (quoting /mbrogno v. Chamberlin, 89 F.3d
87, 90 (2d Cir. 1996)).!? And because Trump has never argued that the punitive
damages award runs afoul of New York law, he has waived any challenge on that
basis. Accordingly, the jury’s award should be reviewed solely as a matter of
constitutional due process.

As Trump observes, under this Court’s decision in Jurley v. ISG
Lackawannda, Inc., 774 F.3d 140, 165 (2d Cir. 2014), there are three “guideposts”
for reviewing punitive damages awards for purposes of due process. Br. 57. The
first, “the degree of reprehensibility” associated with the defendant’s actions, is “the
most important indicium of a punitive damages award’s reasonableness.” State
Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 409 (2003). Even so—and not
surprisingly—Trump gives this factor short shrift, summarily asserting that his
conduct “involve[d] mere public denials of inflammatory, decades-old allegations

of sexual misconduct.” Br. 59-60.

'!° While this case was removed from state to federal court under the Westfall Act,
as Judge Kaplan has noted: “[w]hen a party brings a state law claim in federal court,
the federal court must apply state substantive law and federal procedural law.”
SA.31.

52
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 65 of 71

Nothing could be farther from the truth. Trump not only sexually abused
Carroll, he then proceeded to make dozens of statements calling her a liar driven by
money who was too unattractive for him to have sexually assaulted thereby ruining
her career as a trusted advice columnist. He threatened her repeatedly, saying that
she would “pay dearly” and had entered “dangerous territory” by coming forward.
SPA.5-6; see, e.g., Jennings v. Yurkiw, 18 F.4th 383, 390 (2d Cir. 2021) (looking to
“threat[s] of violence” and “intentional malice’). Moreover, these statements
persisted for five years while the case approached trial, increased in frequency as the
trial grew closer, increased further after Trump was found liable for sexual abuse
and defamation in at the first trial, and continued both in and outside the courtroom
during the second trial. SPA.140; State Farm, 538 U.S. at 409 (looking to repetitive
nature of actions). At the trial, the jury was able to watch video footage of Trump
continuing to defame Carroll outside the courtroom in the days leading up to and
during the trial. SPA.141 & n.42. The district court nghtly determined that this
“exceptional record” as to Trump’s reprehensible conduct justified the punitive
damages award on its own. SPA.142.

The second guidepost under 7ur/ey is “the disparity between the harm or
potential harm suffered and the size of the punitive award.” 774 F.3d at 165 (citation
and quotation marks omitted). The Supreme Court has explicitly refused to identify

rigid constitutional limits on the ratio between harm and the punitive damages

53
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 66 of 71

award. But its declaration that “few awards exceeding a single-digit ratio between
punitive and compensatory damages” raise constitutional concerns, State Farm Mut.,
538 U.S. at 410 (emphasis added), suggests that a lower ratio normally does not.
Here, the ratio was nowhere near 9:1. It was 3.6:1—very close to the “treble
damages” available in other types of civil cases. Indeed, the 3.6:1 ratio in this case
is actually /ower than other recent cases upholding punitive damages awards. See
e.g., Jennings, 18 F.4th at 392 (upholding 4:1 ratio, noting “punitive damages awards
that are a multiple higher may be warranted because of the deterrent function’’); see
also Shuford v. Cardoza, 2023 WL 2706255, at *16 (E.D.N.Y. Mar. 30, 2023) (4:1
ratio “does not raise constitutional concerns); Anderson v. Osborne, 2020 WL
6151249, at *8 (S.D.N.Y. Oct. 20, 2020) (7.6:1 ratio did not “shock the judicial
conscience.”). Contrary to Trump’s contention that Carroll’s compensatory
damages are too small to support the punitive damages award, Br. 58, “when the
compensable injury [is] small but the reprehensibility of the defendant’s conduct [is]
great, the ratio of a reasonable punitive award to the small compensatory award will
necessarily be very high.” Payne v. Jones, 711 F.3d 85, 102 (2d Cir. 2013)

(emphasis added).”°

20 Nor was the nature of Carroll’s injuries “imprecise,” Br. 57, given Carroll’s
concrete evidence as to her economic harms, including the reputation repair
program.

54
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 67 of 71

Trump also ignores the deterrence factor, which is “directly related to what
people can afford to pay.” Lee v. Edwards, 101 F.3d 805, 813 (2d Cir. 1996). Trump
never denied that he was a billionaire and he offered no evidence to the contrary at
trial. Instead, the jurors had the benefit of seeing for themselves just how completely
ineffective the first trial had been in deterring Trump’s continuing defamatory
conduct. Obviously, the jury was justified in concluding that a very significant
amount (to Trump) was necessary to (try to) deter Trump from defaming Carroll yet
again?! State Farm, 538 U.S. at 419 (“punishment” and “deterrence” are
appropriate considerations).7”

Finally, the third factor is “the difference between the remedy in this case and
the penalties imposed in comparable cases.” Turley, 774 F.3d at 165. As noted
above, to some extent, Trump’s conduct here is without precedent: very few famous
people engage in a public, years-long campaign of defamation. And arguably even
fewer civil defendants would openly invite further legal action by continued

defamation even after they’ve been successfully sued for similar statements. In “the

1 During closing argument, Carroll’s counsel was straightforward about this, asking
the jury to consider “how much will it take to make [Trump] stop?” A.1787.

2 Trump’s reliance on 7urley and its 2:1 ratio doesn’t work (Br. 59) since that ratio
was imposed under federal common law, not constitutional due process. In any
event, this is not a case involving a hostile work environment, where punitive
damage awards rarely exceed $1.5 million. 774 F.3d at 166. And unlike Trump, the
employer in 7urley “did not seriously dispute the gravity of the underlying conduct.”
Id. at 147.

55
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 68 of 71

absence of comparable cases,” a court “1s left to be guided by the principle that courts
should endeavor to be the ‘most faithful to the jury’s verdict.” Greenaway v. Cnty.
of Nassau, 327 F. Supp. 3d 552, 569 (E.D.N.Y. 2018) (citing Zeno v. Pine Plains
Cent. Sch. Dist., 702 F.3d 655, 671 (2d Cir. 2012)). Faithful adherence to the jury’s
verdict here recognizes that the jury imposed punitive damages in order to send a
message that jury verdicts (like the first one here) should be respected, that Trump
should think twice about defaming Carroll again, and that even the richest and most
powerful can be held responsible under our legal system.

Even so, this case is not without precedent. Trump’s former lawyer, Rudy
Giuliani, was ordered to pay two election workers he defamed $75 million dollars in
punitive damages. See Freeman, 2023 WL 9783148, at *1. Notably, Mr. Giuliani’s
attacks on the two women he defamed did not reach as wide an audience as here, see
SPA.140, nor did he defame his victims during the trial. And unlike Mr. Guiliani,
who has since declared bankruptcy, Trump does not contend that the damages
awarded to Carroll would be financially ruinous to him. Similarly, in Lafferty v.
Jones, the Connecticut Superior Court awarded $473 million in punitive damages in
an eleven-plaintiff action (roughly $43 million per plaintiff) brought by families of
victims of Sandy Hook school shooting against Alex Jones. 2022 WL 18110184

(Conn. Super. Ct. Nov. 10, 2022). The jury’s award of $65 million against Trump

56
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 69 of 71

here is therefore hardly out of line with other recent high-profile, high-damage

defamation lawsuits.

CONCLUSION

For all the reasons set forth above, the judgment should be affirmed.

Dated: New York, New York
January 27, 2025

57

Respectfully submitted,

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CERTIFICATE OF COMPLIANCE

This brief complies with the length limits requirements of Local Rule
32.1(a)(4) because this brief contains 13,875 words, excluding the parts of the
document excluded by Fed. R. App. P. 32(f).

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January 27, 2025 Roberta A. Kaplan

58
Case: 24-644, 01/30/2025, DktEntry: 88.1, Page 71 of 71

CERTIFICATE OF SERVICE

I, Roberta A. Kaplan, counsel for Plaintiff-Appellee and a member of the Bar
of this Court, certify that, on January 27, 2025, copies of the foregoing brief were
filed with the Clerk through the Court’s electronic filing system, which will send

notice of such filing to all counsel of record.

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January 27, 2025 Roberta A. Kaplan

59
